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 8                                     FEDERAL DISTRICT COURT

 9                                        DISTRICT OF ARIZONA

10
11   JOHN H. THALER, an individual,                     CASE NO. CV-21-01419-PHX-DLR
12                Plaintiff,                            PLAINTIFF’S OPPOSITION TO
13                                                      DEFENDANT’S MOTION TO
                  v.                                    DECLARE PLAINTIFF A
14                                                      VEXATIOUS LITIGANT;
     BRITTANY RAE THALER aka                            DECLARATIONS OF: JOHN H.
15   BRITTANY RAE CHAVEZ et al.,                        THALER; JACQUELINE S.
                                                        BREGER, STEVEN ROTH, JOHN J.
16                 Defendants.                          STANLEY; REPORTS OF LINDA L.
17                                                      MITCHELL.

18                                                      [Assigned to the Honorable Douglas
                                                        Reyes]
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                       PLAINITFF’s REQUEST TO CONTINUE MOTION HEARING AND STATUS CONFERENCE
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 1                                   I. PRELIMINARY STATEMENT

 2          Two facts will be different over the next 12 months than they are now: Plaintiff will be

 3   reunited with his son and Defendant Brittany Rae Chavez aka Brittany Rae Thaler, along with her

 4   mother, Dawna Rae Chavez, will be indicted on racketeering charges related to money laundering,

 5   payroll theft, bankruptcy fraud, insurance fraud, extortion and related criminal acts.

 6          Moreover, ALL OF THE ORDERS ALLEGEDLY COMING FROM JUDGE

 7   MARVIN L. DAVIS’ COURTROOM ARE FORGERIES. JUDGE DAVIS ACCEPTED

 8   BRIBES TO ALLOW DEFENDANTS BRITTANY CHAVEZ AND DAWNA CHAVEZ TO

 9   TAKE OVER HIS COURTROOM AND UPLOAD PHONY ORDERS.

10          Brittany IS NOT a victim. She is a perpetrator. She and her mother, Dawna Chavez, are

11   child abusers. They are using Plaintiff’s three-year-old son to extort Plaintiff into halting any

12   further legal action or investigation. Brittany and Dawna schemed to violate the February 20, 2020

13   Custody Orders with the assistance of corrupt Judge Marvin L. Davis. They have held McKinley

14   Harris Thaler hostage. They have stated that they will not allow Plaintiff to see his son unless he

15   halts all investigation and legal action against them and the co-defendants.

16          Too late. Defendants are now scrambling to prevent the inevitable civil judgment and

17   charges leading to conviction. Brittany and Dawna and members of the Chavez family along with

18   Judge Marvin L. Davis and other defendants herein are being investigated by several federal and

19   state law enforcement agencies. They will be charged.

20          Meanwhile, expert analysis concludes that Brittany has executed thousands of phony trust

21   deeds as a party or as a “notary” (using assumed names), or both for the purposes of money

22   laundering, tax evasion and for the purposes of doling out bribes. Brittany has set up numerous

23   phony mortgage companies and escrow companies to carry out these schemes. The analysis

24   concludes that Brittany has participated in computer hacking leading to payroll theft; she has

25   participated in more than 3,000 fraudulent bankruptcy filings; she has participated in life insurance

26   and auto insurance fraud; and she has created and participated in extortion schemes using phony

27   default judgments, criminal restitution orders and even phony child support orders.

28                            PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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        Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 3 of 123




 1          The analysis also confirms that in early 2014 Dawna Chavez created and carried out an

 2   extortion scheme against Plaintiff by creating in California a fake default judgment that was then

 3   brought to Maricopa County and entered as a foreign state judgment. Dawna then had an attorney,

 4   Defendant Mark Lammers, pursue the phony judgment.

 5          Further, the analysis proves that Judge Marvin L. Davis permitted his courtroom to be

 6   hijacked by Dawna Chavez and Brittany Chavez. Of the Orders allegedly signed by Judge Davis,

 7   all of them are fake and Judge Davis knew it. Judge Davis intentionally permitted Dawna and

 8   Brittany to control his courtroom, to access his court files, to create phony orders and judgment

 9   decree and to upload them back into the Maricopa County Superior Court computer database.

10          Judge Marvin L. Davis’ conduct is NOT protected by judicial immunity. It is criminal and

11   actionable.

12          This Court need to reconsider its current position concerning Judge Davis. The act of

13   taking bribes is NOT a protected act. The act of favoring the litigant providing bribes is NOT a

14   protected act. The act of permitting a party to infiltrate the court’s database and thereafter to write

15   phony orders with forged signatures is NOT a protected act. If this Court has legal citations to the

16   contrary, it may wish to consider presenting the same forthwith. Otherwise, Judge Davis will

17   remain a party to the litigation. Plaintiff will file an appropriate motion seeking to set aside the

18   Court’s order on this issue.

19          Now comes the painful process of unraveling Brittany and her family’s criminal conduct

20   and her further extortion attempt in stealing McKinley from me in September 2020 in violation of

21   the Family Court’s custody order. This was the third time Brittany had taken McKinley and the

22   second time she took him in violation of the Court’s 50/50 custody order.

23                         II. THE HISTORY OF BRITTANY RAE CHAVEZ.

24          As set forth in the complaint, Brittany has been supported in her theft of our three year old

25   son by a judge accepting bribes and a city (Mesa) that openly refuses to abide by custody orders or

26   the UCCJEA. Moreover, Mesa officers have abused Plaintiff and violated his rights systematically.

27   Their actions are reprehensible and actionable.

28                             PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1           Brittany is a diagnosed sociopath. Labeling Brittany as a sociopath is not some punchline to

 2   a bad party joke. She received treatment for this diagnosis from Donna Turner, MFT from May

 3   2016 through August 2017. Treatment was supposed to conclude temporarily due to Brittany’s

 4   pregnancy. During her treatment, I was invited by Ms. Turner to several sessions. Ms. Turner tried

 5   to focus Brittany on empathy. Britany is incapable of it. Ms. Turner tried to focus Brittany on

 6   realizing how her actions affect others. During the treatment period, Brittany seemed to improve in

 7   this regard.

 8           Brittany and I were married on April 13, 2016. I knew nothing of Brittany’s criminal

 9   history or her mental illness at the time of the wedding. Fact is Brittany knew of me long before we

10   ever met on October 22, 2014. In March 2014, Dawna Chavez created an extortion scheme by

11   creating a fake judgment against me in California and then moving it to Maricopa County, Arizona.

12   She used the services of attorney Mark Lammers to pursue it. Whether co-conspiring or interfering

13   with her mother’s scheme, Brittany sought me out and chose to meet me in October 2014.

14           After the birth of our son on December 12, 2017, Brittany refused to return to treatment—

15   except at my urging in May 2018. That lasted two sessions as Ms. Turner discovered that Brittany

16   had been lying to us about her criminal activities. Ms. Turner thereafter refused to treat Brittany

17   unless she told me her real story. Family members warned her that if she were honest I might try to

18   take our son from her. Brittany began falling apart emotionally. This was made worse by my initial

19   discovery of phony deeds created by her and her family for money laundering and tax evasion

20   purposes.

21           Brittany complains that she is merely an instructor for iPro Tech. Umm, no. Brittany is a

22   trained and experienced Trial Paralegal with 23 major trials in federal and state court under her belt.

23   She was trained in Bankruptcy Law at Snell & Wilmer. From 2013 to 2015 she taught paralegal

24   studies at Everest College including Bankruptcy.

25           Brittany uses her employment to commit racketeering activities. At Poli & Ball, she

26   assisted Barbara Sloane in filing a phony insurance claim with Farmer’s Insurance over a house fire

27   that she knew Ms. Sloane directed to be set. (Sloane v. Farmers Insurance is extremely well known

28                            PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1   in Arizona.) At Andante Law Group, she enticed attorney Brian Blum to file fraudulent Chapter 7

 2   bankruptcies. She was fired from this job. At Struck, Love, Brittany falsified evidence including

 3   doctors’ reports concerning inmate treatment. She was fired from this job (though allowed to

 4   submit a resignation letter). And at iPro Tech, Brittany has gained access to many law office

 5   computers and files including that of the Office of Federal Defender.

 6             III. IN HER MOTION, BRITTANY GROSSLY MISLEADS THIS COURT.

 7            Brittany lies to this Court. Brittany has no costs to date. And all issues have been created

 8   solely by her conduct. Brittany omits from her motion a plethora of relevant and necessary facts

 9   concerning her egregious conduct specifically to mislead this Court. To wit, Brittany:

10   •Stole McKinley on his second birthday (December 12, 2019) and then withheld him for two

11   weeks.

12   •Falsified an Order of Protection on December 12, 2019 to prevent me from seeing McKinley.

13   •Filed a dissolution of marriage petition along with multiple ex parte motions to prevent me from

14   seeing McKinley. (All were denied.)

15   •Limited my time with McKinley thereafter for an additional two weeks;

16   •After agreeing to a 50/50 time share, moved forward on February 20, 2020 with a custody hearing

17   where she and her mother committed perjury to try to change the agreement they just made to

18   limited monitored visitation. (Judge disagreed and ordered 50/50 custody with Dawna Chavez

19   volunteering to facilitate exchanges).

20   •Stole McKinley for two weeks on April 4, 2020 in violation of the Court’s Order thus keeping

21   McKinley from me on my birthday.

22   •In violation of the Court Order appointing her as facilitator of exchanges, Dawna Chavez then

23   obtains by fraud an Order of Protection so that Brittany can freely move McKinley to and from her

24   house while Brittany is working thus removing my ability to pick up McKinley from Dawna’s

25   residence.

26   •Stole my personal effects including musical instruments from the home.

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28                             PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1   •Worked with bribed judge Bruce Cohen, presiding judge over the Family court, Judge Marvin L.

 2   Davis was moved into the department. Judge Davis also receives bribes through the phony

 3   mortgage scheme.

 4   •Carried out a fraudulent sale of our residence in violation of the Court Order to sell the property,

 5   thus keeping the equity of $220,000.00. Then Brittany and her lawyer, Defendant Greg Davis,

 6   falsified legal bills and expenses to reduce my ½ share of the (non-existent) proceeds. The phony

 7   claim Brittany makes about “$110,000” relates to phony billing statements intended to erase my

 8   share of the profits had a sale occurred. But even if a sale were to have occurred, nothing would be

 9   owed since my share of the equity would have covered this sum.

10          As to the alleged profits from the sale: the court Order by stipulation made BEFORE

11   Judge Davis was assigned the dissolution case required the proceeds to remain in escrow for

12   90 days. If not subject to further order, they would be placed in the trust account of

13   Brittany’s first attorney, Erica Gadberry. Defendant Gadberry claims her office never

14   received the proceeds. Mr. Davis claims Ms. Gadberry did receive the proceeds and removed

15   $25,000 for attorneys fees before sending to his office. Defendant Jet Closings claims it sent

16   all but $1,000 of the sale proceeds to attorney Davis. Jet Closings cannot account for the

17   missing $1,000.00. Meanwhile, Ms. Gadberry obtained an Order for the “Court Appointed

18   Advisor” (Defendant Barbara Kiffmeyer) to receive her $1,000.00 payment from the proceeds

19   of the sale. But Ms. Kiffmeyer refuses to account for how she received payment or from

20   whom. Defendant Greg Davis has failed and refused to provide an accounting of the proceeds.

21   And it turns out that the strawmen buyers of our residence are long time friends of Dawna

22   Chavez’ boyfriend, Defendant Lawrence Cairo. And it turns out that the real estate agent

23   retained by Brittany to sell the property has participated in the Chavez fraudulent

24   mortgage/property sale money laundering schemes.

25          Other irregularities in the sale of the residence include the refusal to provide any of the sale

26   documents and the failure to record my Warranty Deed.

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28                            PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1   •Called the Arizona State Bar (of which Plaintiff is not a member) and reported that Plaintiff was

 2   practicing law without authorization in the State of Arizona.

 3   •Refused to allow McKinley to be with me on Father’s Day.

 4   Instead, on Father’s Day Brittany provided a 12 page manifesto stating that Plaintiff would “never

 5   be McKinley’s father” and that if Plaintiff agreed to settle, she would allow me to see McKinley for

 6   two hours one Sunday per month.

 7   •Filed a false DCS report making an array of ridiculous claims. DCS determined that none of

 8   Brittany’s claims had any merit.

 9   •Filed a second false DCS report with even more outrageous claims. Again, no merit found to any

10   of the claims.

11          In mid-August 2020, McKinley reported erratic behavior by Brittany including drug use.

12   Toward the end of the month he was waking up from nightmares stating that his mother was going

13   to take him

14          As a result of Brittany’s erratic behavior and McKinley’s reporting of it, Dawna decided to

15   use McKinley to control her daughter. To that end, Dawna planned a scheme to take McKinley and

16   then make false accusations against me for alleged violations of the Orders of Protection. The

17   scheme also included using a clone of my cell phone to send text messages appearing to come from

18   my phone.

19   •Refused to exchange McKinley on September 19, 2020 in violation of the Court’s February 20,

20   2020 Custody Order.

21   •Took McKinley to his pediatrician and to Children’s Hospital falsely claiming child abuse. Both

22   found none. Then filed a false police report with the Gilbert Police Department that McKinley was

23   physically and/or sexually abused. After having McKinley interviewed with a forensic

24   psychologist, the police found that Brittany had fabricated the story. The detective in charge

25   requested that Brittany immediately begin exchanges. Brittany refused. A custody hearing was

26   then requested by Greg Davis and set for October 20, 2020.

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28                            PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1          All attempts to enforce Custody Order were ignored by Court and by the Mesa Police

 2   Department.

 3          After filing yet another false complaint with the Mesa Police, with the assistance of bribed

 4   Mesa Police Officer Jacob G. Roessler, Officer Roessler effected a false arrest of me in my home in

 5   Gilbert, Arizona on October 13, 2020. The point was to taint the upcoming Court hearing.

 6          As if that were not enough, on the night of October 18, 2020, four men dressed as Mesa

 7   Police Officers entered my home and assaulted a client-guest who was staying there. They tied him

 8   up while searching the residence for a drive used by Brittany that contains a plethora of evidence of

 9   the racketeering enterprises during the years 2005 through 2014. The search was unsuccessful.

10          As is confirmed by Forensic Questioned Documents Examiner, Linda L. Mitchell, multiple

11   Court Orders in the divorce case from the time Judge Davis took over are falsified. At least 7

12   motions made by me were altogether ignored and at least 7 oppositions to Brittany’s motions were

13   ignored with the alleged court order stating “no Opposition having been filed…”

14          The Mitchell report also confirms multiple identities used by Brittany in furtherance of the

15   racketeering activities.

16          As to the alleged trial on December 29, 2020, Plaintiff was in Valley Medical Center

17   hospital in Las Vegas, Nevada. Four primary witnesses had Covid with two hospitalized. One of

18   the two died several weeks later. Despite requests made days in advance for a continuance, the

19   Court made no ruling and then insisted on going forward with the trial in my absence and in the

20   absence of the witnesses. Brittany had no witnesses present—because she has alienated her friends

21   and untainted family members with her conduct concerning McKinley.

22          Plaintiff has not seen nor spoken with McKinley for more than a year. Brittany and

23   Dawna will not permit telephone communications. When Plaintiff has tried to see McKinley,

24   Brittany has refused to act. On May 9, 2021, Plaintiff made arrangements with a monitoring

25   facility to see McKinley. Brittany promised the facility she would bring McKinley. She lied.

26   After 45 minutes and repeated calls from the facility to Brittany, my money for the monitoring of

27   the visit was refunded.

28                              PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1          Co-Counsel John Stanley has tried to obtain a commitment from Brittany to allow me to see

 2   McKinley. Brittany refuses.

 3          As to the Mesa trial and convictions, Brittany again lies to this Court. The Mesa Court was

 4   received medical statements concerning treatment of Plaintiff that prevented his presence. The

 5   Court also was informed and received documentation that a key witness, Jacqueline Breger had

 6   suffered a concussion in an automobile collision and was unable to testify. A short continuance

 7   was requested and denied. Nonetheless, Plaintiff agreed to participate by Zoom or similar method.

 8   The Mesa Court rejected Plaintiff’s request.

 9          More significantly, Brittany omits that Plaintiff is represented by counsel in the Mesa

10   matters and that his counsel WAS present.

11          Brittany and Dawna are child abusers. They have deliberately prevented McKinley from

12   having a relationship with me. Plaintiff has not received a Chanukah or Christmas card, or

13   Valentine’s Day card, or birthday card, or Father’s Day card etc. Who does this to a three-year-old

14   child? Who does this to a child suffering nightmares about being taken by his mother and kept

15   from his father? Truly sick.

16          This Court should be frightened by the fact in 2021, corruption in the court system and

17   among law enforcement can result in this level of child abuse. Plaintiff seeks redress for violations

18   of federal law. There are many in this matter.

19             IV. BRITTANY’S REQUEST IS MERITLESS AND UNSUPPORTED BY

20            APPLICABLE LEGAL ATUHORITY, AND THUS SHOULD BE DENIED.

21          This case turns on the failure of the Maricopa County Superior Court and the Mesa Court to

22   provide fair and unfettered access specifically because of bribes paid to judges and clerks through

23   phony trust deeds evidencing phony mortgages. The perpetrators are not first-time takers. Judge

24   Marvin L. Davis and the other “judge” defendants accepted bribes long before their appointments

25   to the bench and, once taking the bench, manipulated cases accordingly.

26          Plaintiff comes to this Court because his rights have been so egregiously violated.

27   Brittany’s motion is a cheap stunt based on false statements designed to protect her from having to

28                            PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1   answer for her conduct, conduct which includes filing false police reports and committing perjury

 2   before multiple courts.

 3          Of course Brittany seeks prior restraint. But that is something to which she is not entitled.

 4          Federal courts can “regulate the activities of abusive litigants by imposing carefully tailored

 5   restrictions. De Long v. Hennessey, 912 F.2d 1144, 1147 (9th Cir. 1990) (quotation marks

 6   omitted). Pursuant to the All Writs Act, 28 U.S.C. § 1651(a), “enjoining litigants with abusive and

 7   lengthy [litigation] histories is one such . . . restriction” that courts may impose. De Long at 912

 8   F.2d at 1147.

 9          “[T]he right of access to the courts is a fundamental right protected by the Constitution.”

10   Delew v. Wagner, 143 F.3d 1219, 1222 (9th Cir. 1998). The First Amendment “right of the people .

11   . . to petition the Government for a redress of grievances,” which secures the right to access the

12   courts, has been termed “one of the most precious of the liberties safeguarded by the Bill of

13   Rights.” BE & K Const. Co. v. NLRB, 536 U.S. 516, 524–25 (2002) (internal quotation marks

14   omitted, alteration in original); see also Christopher v. Harbury, 536 U.S. 403, 415 n.12 (2002)

15   (noting that the Supreme Court has located the court access right in the Privileges and Immunities

16   clause, the First Amendment petition clause, the Fifth Amendment due process clause, and the

17   Fourteenth Amendment equal protection clause).

18          Prior restraint by way of pre-filing orders may infringe on important rights including the

19   free access guarantee. Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1057 (9th Cir. 2007)

20   (per curiam).

21          “Among all other citizens, [the vexatious litigant] is to be restricted in his right of access to

22   the courts… We cannot predict what harm might come to him as a result, and he should not be

23   forced to predict it either. What he does know is that a Sword of Damocles hangs over his hopes for

24   federal access for the foreseeable future.” Moy v. United States, 906 F.2d 467, 470 (9th Cir. 1990).

25          Out of regard for the constitutional safeguards including the right to court access, “pre-filing

26   orders should rarely be filed,” and only if courts comply with certain procedural and substantive

27   requirements. De Long at 912 F.2d at 1147.

28                             PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1          When district courts seek to impose pre-filing restrictions, they must: (1) give litigants

 2   notice and “an opportunity to oppose the order before it [is] entered”; (2) compile an adequate

 3   record for appellate review, including “a listing of all the cases and motions that led the district

 4   court to conclude that a vexatious litigant order was needed”; (3) make substantive findings of

 5   frivolousness or harassment; and (4) tailor the order narrowly so as “to closely y fit the specific vice

 6   encountered.” Id. at 1147–48.

 7          In the instant matter, Plaintiff filed a complaint against multiple individuals and state/local

 8   government entities for violations of his civil rights and, where applicable and related, common law

 9   torts. Plaintiff has not filed any motions except for leave to amend because additional relevant

10   information was discovered after the complaint was filed.

11          Moreover, Plaintiff has ample evidence to win on the merits of his complaint. The

12   investigation and he and others have conducted implicates Defendant Brittany Chavez and

13   members of her family in a life-long criminal career that includes various racketeering enterprises

14   and extortion. The evidence implicates employees of Maricopa County and the City of Mesa as

15   taking bribes and acting in furtherance of the racketeering activities.

16          Plaintiff has utilized additional attorneys and experts to examine the evidence and to

17   determine its strengths and veracity. Simply, Plaintiff is not “shooting in the dark.” Rather, he has

18   spent more than two years gathering evidence and having the same peer reviewed.

19   Further, this Defendant lies pathologically. She is a diagnosed sociopath who conspired with her

20   mother to extort monies from Plaintiff before he had ever met them. She has lied and mislead

21   multiple courts. In the case of the corrupt Judge Davis, she did so with his assistance and with that

22   of her attorneys, Erica Gadberry and Greg R. Davis.

23          This Defendant DID NOT fool the Clark County Superior Court. Brittany omits the fact

24   that after reviewing the report by Forensic QDE Linda L. Mitchell, the court concluded that ample

25   evidence of court corruption existed along with Brittany’s participation in it that it rendered the

26   rulings coming from Judge Marvin L. Davis as highly suspect. On those grounds, the Court has

27   held my action for Annulment in “open” status.

28                             PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1           Simply put, one court has already concluded on the merits that Judge Davis’s actions

 2   evidence corruption in favor of Brittany.

 3           Even if any of the Brittany’s contentions were true, none provides a basis for prior restraint.

 4   Worse, Brittany’s statements are demonstrably false while the evidence against her, her mother, her

 5   family, and her co-defendants mounts. Plaintiff’s case shall be prosecuted to the fullest extent

 6   possible. Unlike the Maricopa County Superior Court and City of Mesa courts and their officials,

 7   Plaintiff’s rights will not be violated or limited.

 8           Plaintiff requests that this Court deny Defendant Brittany Chavez’ motion.

 9                                             V. CONCLUSION.

10           For the reasons stated herein, the motion should be denied.

11
     Date: September 27, 2021                                              HARRIS/THALER LAW
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                                                                   By:____________________________
15                                                                    JOHN H. THALER, Plaintiff

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28                             PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1                               DECLARATION OF JOHN H. THALER
            I, John H. Thaler, do declare:
 2          1.      I am an attorney duly licensed to practice law before all of the Courts in the State of
 3   California and I am the Plaintiff herein.
 4          2.       Brittany has been supported in her theft of our three year old son by a judge
 5   accepting bribes and a city (Mesa) that openly refuses to abide by custody orders or the UCCJEA.
 6   Moreover, Mesa officers have abused me and violated my rights systematically. Their actions are
 7   reprehensible and actionable.
 8          3.       Brittany is a diagnosed sociopath. Labeling Brittany as a sociopath is not some
 9   punchline to a bad party joke. She received treatment for this diagnosis from Donna Turner, MFT
10   from May 2016 through August 2017. Treatment was supposed to conclude temporarily due to
11   Brittany’s pregnancy. During her treatment, I was invited by Ms. Turner to several sessions. Ms.
12   Turner tried to focus Brittany on empathy. Britany is incapable of it. Ms. Turner tried to focus
13   Brittany on realizing how her actions affect others. During the treatment period, Brittany seemed to
14   improve in this regard.
15          4.       Brittany and I were married on April 13, 2016. I knew nothing of Brittany’s
16   criminal history or her mental illness at the time of the wedding. Fact is Brittany knew of me long
17   before we ever met on October 22, 2014. In March 2014, Dawna Chavez created an extortion
18   scheme by creating a fake judgment against me in California and then moving it to Maricopa
19   County, Arizona. She used the services of attorney Mark Lammers to pursue it. Whether co-
20   conspiring or interfering with her mother’s scheme, Brittany sought me out and chose to meet me in
21   October 2014.
22          5.       After the birth of our son on December 12, 2017, Brittany refused to return to
23   treatment—except at my urging in May 2018. That lasted two sessions as Ms. Turner discovered
24   that Brittany had been lying to us about her criminal activities. Ms. Turner thereafter refused to
25   treat Brittany unless she told me her real story. Family members warned her that if she were honest
26   I might try to take our son from her. Brittany began falling apart emotionally. This was made
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28                             PLAINITFF’S REQUEST TO FILE PLEADINGS ELECTRONOICALLY
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 1   worse by my initial discovery of phony deeds created by her and her family for money laundering

 2   and tax evasion purposes.

 3          6.        Brittany complains that she is merely an instructor for iPro Tech. Umm, no.

 4   Brittany is a trained and experienced Trial Paralegal with 23 major trials in federal and state court

 5   under her belt. She was trained in Bankruptcy Law at Snell & Wilmer. From 2013 to 2015 she

 6   taught paralegal studies at Everest College. She was then employed by Poli & Ball, Andante Law

 7   Group and Struck, Love, Bojanowski & Acedo.

 8          7.        Brittany uses her employment to commit racketeering activities. At Poli & Ball, she

 9   assisted Barbara Sloane in filing a phony insurance claim with Farmer’s Insurance over a house fire

10   that she knew Ms. Sloane directed to be set. (Sloane v. Farmers Insurance is extremely well known

11   in Arizona.) At Andante Law Group, she enticed attorney Brian Blum to file multiple fraudulent

12   Chapter 7 bankruptcies. She was fired from this job. At Struck, Love, Brittany falsified evidence

13   including doctors’ reports concerning inmate treatment. She was fired from this job (though

14   allowed to submit a resignation letter). And at iPro Tech, Brittany has gained access to many law

15   office computers and files including that of the Office of Federal Defender.

16          8.        Brittany lies to this Court about costs incurred. Brittany has no costs to date. And

17   all issues have been created solely by her conduct. Brittany omits from her motion a plethora of

18   relevant and necessary facts concerning her egregious conduct specifically to mislead this Court.

19   To wit, Brittany:

20          9.        •Stole McKinley on his second birthday (December 12, 2019) and then withheld him

21   for two weeks.

22          10.       •Falsified an Order of Protection on December 12, 2019 to prevent me from seeing

23   McKinley.

24          11.       •Filed a dissolution of marriage petition along with multiple ex parte motions to

25   prevent me from seeing McKinley. (All were denied.)

26          12.       •Limited my time with McKinley thereafter for an additional two weeks;

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 1          13.     •After agreeing to a 50/50 time share, moved forward on February 20, 2020 with a

 2   custody hearing where she and her mother committed perjury to try to change the agreement they

 3   just made to limited monitored visitation. (Judge disagreed and ordered 50/50 custody with Dawna

 4   Chavez volunteering to facilitate exchanges.

 5          14.     •Stole McKinley for two weeks on April 4, 2020 in violation of the Court’s Order

 6   thus keeping McKinley from me on my birthday.

 7          15.     •In violation of the Court Order appointing her as facilitator of exchanges, Dawna

 8   Chavez then obtains by fraud an Order of Protection so that Brittany can freely move McKinley to

 9   and from her house while Brittany is working thus removing my ability to pick up McKinley from

10   Dawna’s residence.

11          16.     •Stole my personal effects including musical instruments from the home.

12          17.     •Worked with bribed judge Bruce Cohen, presiding judge over the Family court,

13   Judge Marvin L. Davis was moved into the department. Judge Davis also receives bribes through

14   the phony mortgage scheme.

15          18.     •Carried out a fraudulent sale of our residence in violation of the Court Order to sell

16   the property, thus keeping the equity of $220,000.00. Then Brittany and her lawyer, Defendant

17   Greg Davis, falsified legal bills and expenses to reduce my ½ share of the (non-existent) proceeds.

18   The phony claim Brittany makes about “$110,000” relates to phony billing statements intended to

19   erase my share of the profits had a sale occurred. But even if a sale were to have occurred, nothing

20   would be owed since my share of the equity would have covered this sum.

21          19.     As to the alleged profits from the sale: the court Order required the proceeds

22   to remain in escrow for 90 days. If not subject to further order, they would be placed in the

23   trust account of Brittany’s first attorney, Erica Gadberry. Defendant Gadberry claims her

24   office never received the proceeds. Mr. Davis claims Ms. Gadberry did receive the proceeds

25   and removed $25,000 for attorney’s fees before sending to his office. Defendant Jet Closings

26   claims it sent all but $1,000 of the sale proceeds to attorney Davis. Jet Closings cannot

27   account for the $1,000.00. Meanwhile, Ms. Gadberry obtained an Order for the “Court

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 1   Appointed Advisor” (Defendant Barbara Kiffmeyer) to receive her $1,000.00 payment from

 2   the proceeds of the sale. But Ms. Kiffmeyer refuses to account for how she received payment

 3   or from whom. Defendant Greg Davis has failed and refused to provide an accounting of the

 4   proceeds. And it turns out that the alleged buyers of our residence are longtime friends of

 5   Dawna Chavez’ boyfriend, Defendant Lawrence Cairo. And it turns out that the real estate

 6   agent retained by Brittany to sell the property has participated in the Chavez fraudulent

 7   mortgage/property sale money laundering schemes.

 8          20.     Where I come from we call that FRAUD.

 9          21.     Other irregularities in the sale of the residence include the refusal to provide any of

10   the sale documents and the failure to record my Warranty Deed.

11          22.     •Called the Arizona State Bar (of which I am not a member) and reported that I was

12   practicing law without authorization in the State of Arizona.

13          23.     •Refused to allow McKinley to be with me on Father’s Day.

14          24.     Instead, on Father’s Day Brittany provided a 12 page manifesto stating that I would

15   “never be McKinley’s father” and that if I agreed to settle, she would allow me to see McKinley for

16   two hours one Sunday per month.

17          25.     •Filed a false DCS report making an array of ridiculous claims. DCS determined

18   that none of Brittany’s claims had any merit.

19          26.     •Filed a second false DCS report with even more outrageous claims. Again, no

20   merit found to any of the claims.

21          27.     In mid-August 2020, McKinley reported erratic behavior by Brittany including drug

22   use. Toward the end of the month he was waking up from nightmares stating that his mother had

23   told him she was going to take him from me.

24          28.     And that became the problem: as McKinley became able to express complex

25   thoughts, he was expressing to me and to others his mother’s actions… her criminal actions.

26          29.     As a result of Brittany’s erratic behavior and McKinley’s reporting of it, Dawna

27   decided to use McKinley to control her daughter. To that end, Dawna planned a scheme to take

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 1   McKinley and then make false accusations against me for alleged violations of the Orders of

 2   Protection. The scheme also included using a clone of my cell phone to send text messages

 3   appearing to come from my phone.

 4          30.        •Refused to exchange McKinley on September 19, 2020 in violation of the Court’s

 5   February 20, 2020 Custody Order.

 6          31.        •Took McKinley to his pediatrician and to Children’s Hospital falsely claiming child

 7   abuse. Both found none. Then filed a false police report with the Gilbert Police Department that

 8   McKinley was physically and/or sexually abused. After having McKinley interviewed with a

 9   forensic psychologist, the police found that Brittany had fabricated the story. The detective in

10   charge requested that Brittany immediately begin exchanges. Brittany refused. A custody hearing

11   was then requested by Greg Davis and set for October 20, 2020.

12          32.        All attempts to enforce Custody Order were ignored by Court and by the Mesa

13   Police Department.

14          33.        After filing yet another false complaint with the Mesa Police, with the assistance of

15   bribed Mesa Police Officer Jacob G. Roessler, Officer Roessler effected a false arrest of me in my

16   home in Gilbert, Arizona on October 13, 2020. The point was to taint the upcoming Court hearing.

17          34.        As if that were not enough, on the night of October 18, 2020, four men dressed as

18   Mesa Police Officers entered my home and assaulted a client-guest who was staying there. They

19   tied him up while searching the residence for a drive used by Brittany that contains a plethora of

20   evidence of the racketeering enterprises during the years 2005 through 2014. The search was

21   unsuccessful. See the Declaration of Richard Salazar.

22          35.        In addition to stealing the evidence, the point was to intimidate me into giving up

23   custody rights.

24          36.        As is confirmed by Forensic Questioned Documents Examiner, Linda L.

25   Mitchell, ALL of the Court Orders in the divorce case from the time Judge Davis took over

26   are falsified. They are traced signatures. At least 7 motions made by me were altogether

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 1   ignored and at least 7 oppositions to Brittany’s motions were ignored with the alleged court

 2   order stating “no Opposition having been filed…”

 3           37.     The Mitchell report also confirms multiple identities used by Brittany in furtherance

 4   of the racketeering activities.

 5           38.     As to the alleged divorce trial on December 29, 2020, I was in Valley Medical

 6   Center hospital in Las Vegas, Nevada. Four primary witnesses had Covid with two hospitalized.

 7   One of the two died several weeks later. Despite requests made days in advance for a continuance,

 8   the Court made no ruling and then insisted on going forward with the trial in my absence and in the

 9   absence of the witnesses. Brittany had no witnesses present—because she has alienated her friends

10   and untainted family members with her conduct concerning McKinley.

11           39.     And none of this even begins to touch on the stealing and forging of checks in 2017

12   or the stealing of credit and debit cards in 2019 or the two attempts made on my life, the first on

13   April 20, 2019 and the second on July 7, 2019, to collect the proceeds of a newly obtained

14   insurance policy or Brittany poisoning beverages she would “brew” for me in order to obtain a

15   positive drug test so that she could steal McKinley.

16           40.     Further, none of this even begins to cover the medical situation the poisoning has

17   caused—random high blood pressure spikes that required an angiogram on December 31, 2019 and

18   resulted in 5 separate hospitalizations during 2020.

19           41.     I have not seen nor spoken with McKinley for more than a year. Brittany and

20   Dawna refuse to facilitate telephone communications. When I have tried to see McKinley, Brittany

21   has refused to act. On May 9, 2021, I made arrangements with a monitoring facility to see

22   McKinley. Brittany promised the facility she would bring McKinley. She lied. After 45 minutes

23   and repeated calls from the facility to Brittany, my money for the monitoring of the visit was

24   refunded.

25           42.     Co-Counsel John Stanley has tried to obtain a commitment from Brittany to allow

26   me to see McKinley. Brittany refuses.

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 1          43.     As to the Mesa trial and convictions, Brittany again lies to this Court. The Mesa

 2   Court received medical statements concerning my treatment that prevented me from being present.

 3   The Court also was informed and received documentation that a key witness, Jacqueline Breger had

 4   suffered a concussion in an automobile collision and was unable to testify. A short continuance

 5   was requested and denied. Nonetheless, I agreed to participate by Zoom or similar method. The

 6   Mesa Court rejected the request.

 7          44.     More significantly, Brittany omits that I am represented by counsel in the Mesa

 8   matters and that his counsel WAS present.

 9          45.     But she also omits two other significant factor: the Order of Protection Brittany

10   allegedly obtained on December 12, 2019 is a fake document with a fake case number that was

11   loaded into the court computer system. The same is true of the Order of Protection allegedly

12   obtained by Dawna in April 2020 (to prevent me from seeing McKinley when Brittany would bring

13   him to her mother’s house).

14          46.     Brittany and Dawna are child abusers. They have deliberately prevented McKinley

15   from having a relationship with me. I have not received a Chanukah or Christmas card, or

16   Valentine’s Day card, or birthday card, or Father’s Day card etc. let alone a telephone call. Who

17   does this to a three-year-old child? Who does this to a child who is suffering nightmares about

18   being taken by his mother and kept from his father? Truly sick

19          47.     Included herewith are the declarations of Steve Roth, Jacqueline S. Breger, and

20   Richard Salazar. Also, I have included the declaration provided by attorney John J. Stanley to the

21   Clark County Superior Court. Mr. Stanley is currently out of country and unable to provide an

22   updated declaration. Also attached herewith are the first report and summary of the second report

23   currently being assembled by Linda L. Mitchell, a well respected questioned documents examiner.

24          48.     Moreover, I have met with multiple federal law enforcement agencies and state

25   Attorneys General. The matters stated herein are the subject of current investigations. Should the

26   Court require, details of the meetings and the names of current investigators can be provided

27   confidentially and in camera.

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 1          49.     I have investigated “white collar” criminal matters for thirty-one (31) years. The

 2   point here is there are no conclusions that I reach without review by other competent individuals.

 3          50.     As suspending of one’s disbelief as this matter may require initially, every allegation

 4   has supporting document and related evidence and witnesses.

 5          51.     Corruption in the State of Arizona is well known and well documented. The extent

 6   of that corruption goes far beyond anything I could have imagined. Much of the corruption and

 7   especially the taking of bribes starts before the corrupted individual ever reaches his or her ultimate

 8   position of power.

 9          52.     Simply put, this is a systemic and systematic problem which will require significant

10   changes in the methods by which individuals are appointed to positions in state and local

11   government.

12          53.     Arizona is not alone. Multiple states have been infiltrated in similar ways. I leave

13   that to the federal investigators. For me, this is about a three-year-old child whose father was his

14   primary caregiver until stolen last year by Brittany and Dawna in an attempt to shut me up. Their

15   actions and those of their fellow co-defendants are representative of the actions used to jail innocent

16   individuals, free guilty individuals, and carry out the racketeering enterprises.

17          54.     Again, simply put, there are many victims. But unlike other victims, I have the

18   experience and team support to fight back. This Court is where such violations of Constitutional

19   rights are redressed. Defendant’s attempts to limit those rights are shameful and must be rejected.

20          55.     Finally, Brittany and her mother face criminal charges. They face the transfer of the

21   dissolution action to an annulment action in Clark County, Nevada. They face a Special Action

22   Appeal in Maricopa County. They and the City of Mesa face a Special Action Appeal for the

23   phony criminal charges and wrongful convictions. They face this action. And they and the other

24   individual defendants face an IRS 211/212 claim for tax evasion..

25          56.     And that is not all. Several well known and well respected law firms in Arizona are

26   preparing class actions against these defendants for the various criminal frauds they committed and

27   the institutions, public and private, that aided and abetted them. The evidence gathered to date

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 1   shows that manipulation of court databases in cities and counties in Arizona has resulted in guilty

 2   individuals being freed and innocent individuals (who pose some threat to the criminal enterprises)

 3   be charged with crimes.

 4          57.     This is a very serious breach that won’t go away anytime soon.

 5          58.     The defendants chose to commit criminal acts. They chose to attack me and others

 6   with false charges, horrific defamation and even physical attack. They do not have the right to

 7   complain about the consequences. In the words sung by Sammy Davis, Jr. from the theme to the

 8   television show, Baretta: “Don’t do the crime if you can’t do the time.”

 9          59.     Brittany’s motion is frivolous and dangerous. It must be denied.

10          I declare under penalty of perjury that the foregoing is true and correct and if called as a

11   witness, I could and would testify competently thereto.

12          Executed on this 26th day of September, 2021 at Las Vegas, Nevada.

13
14                                                  ___________________________________
                                                    JOHN H. THALER
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 1   STATE OF NEVADA                  )
                                      )                      PROOF OF SERVICE BY E-MAIL
 2   COUNTY OF CLARK                  )
 3   I am a citizen of the United States, and a resident of the County aforesaid. I am over the age of 18 years
 4   and not a party to the within entitled action and am an active member of the State of California. My
     business address is 2510 E. Sunset Road, Suite 6-124, Las Vegas, Nevada 89120. On September 20,
 5   2021, I served the within

 6   PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DECLARE PLAINTIFF A
 7   VEXATIOUS LITIGANT; DECLARATIONS OF: JOHN H. THALER; JACQUELINE S.
     BREGER, STEVEN ROTH, JOHN J. STANLEY; REPORTS OF LINDA L. MITCHELL.
 8
     on the persons interested in said action by sending the same by e-mail as follows:
 9
10   See Attached List

11   I certify under penalty of perjury under the laws of the State of California and the United States that the
     foregoing is true and correct. Executed at Las Vegas, Nevada, September 21, 2021.
12
13                                   ___________________________
                                     JAIME MUNOZ
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 1                                            SERVICE LIST

 2   bthaler@iprotech.com                              Brittany R. Chavez aka Thaler
                                                       In Pro Per
 3
 4   drchavez01@aol.com                                Dawna Chavez
                                                       In Pro Per
 5
     hrosing@klinedinstlaw.com                         Heather Rosing
 6                                                     For Defendant Greg R. Davis
 7
     js@johnstanleylaw.com                             John J. Stanley
 8                                                     For Plaintiff

 9   jsammartino@klinedinstlaw.com                     Joseph Sammartino
                                                       For Defendant Greg R. Davis
10
     rtamaddon@hinshawlaw.com                          Ray Trammadon
11
                                                       For Defendant Marvin L. Davis
12
     stully@hinshawlaw.com                             Steven Tully
13                                                     For Defendant Marvin L. Davis
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                    DECLARATION BY JACQUELINE S. BREGER
I HEREBY DECLARE:
1. My name is Jacqueline S. Breger. I am not a party to this case. I am over eighteen years
     of age. I have been a resident of Arizona for the past twenty-four years. I am a
     homeowner in Scottsdale. I have an MBA and hold insurance licenses for Health, Life,
     Property and Casualty. I own my own insurance agency. I am a divorcee, having been
     married for twenty-two years to an attorney and the father of my three daughters. We
     have successfully coparented our children for the past four years. Two of our daughters
     are currently over eighteen, one a graduate of ASU Barrett the Honors College in
     Neurobiology Pre-Med with a 4.0 GPA and the second a freshman at NAU. Our
     youngest daughter is still in High School and continues to spend 50% of her time with
     me and 50% of her time with her father.
2. I have known Mr. Thaler for almost four years and have worked with him on previous
     insurance claims cases with his acting as an independent consultant.
3. I have been working with and researching this matter on behalf of Mr. Thaler for 19
     months and in doing so I have spent a lot of time (on average ten hours per day) with
     Mr. Thaler and would say that I know him very well. I can attest that almost all of the
     ‘facts’ provided by Brittany Chavez aka Thaler in the “Motion to declare John Thaler as
     a Vexatious Litigator” are false or taken out of context to mislead the Court.
4. I have addressed each untrue or misleading statement by Brittany below:

The most concerning of all the claims made by Brittany Chavez aka Thaler was:

“Thaler’s bad conduct was well documented in the divorce decree” – the decree is a
FAKE

a.   Linda Mitchell, a very well-known and extremely proficient Forensic Document Expert
     analyzed the Judge’s signature on the divorce decree and stated that the signature was
     not that of Judge Marvin Davis and was most likely that of Brittany Chavez aka Thaler.
     Any and all information in that decree is FRAUDULENT. It is likely that Brittany
     herself wrote the decree.
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      b. Having gotten divorced and having worked for an attorney, even I, in my limited
           experience, am aware that the verbiage in the decree was inconsistent with the case. It is
           missing pertinent information that is always standard in a divorce decree. It discusses
           information that is not even relevant to this case and the final confirmation of its lack of
           authenticity is its fake signature. To date, Judge Marvin Davis has not presented Mr.
           Thaler with a true and authentic copy of his signature, nor has he personally stated that
           he wrote and signed this decree or any other rulings in this case for that matter.
      Addressing the so called ‘claims’ made about Mr. Thaler in the divorce decree:
II.        Refusing to engage in reasonable negotiations
      a.   Mr. Thaler has presented MULTIPLE settlement offers to Brittany, all of which have
           been ignored. Mr. Thaler spent four hours discussing and settling this case with Shauna
           (Brittany’s aunt) in February 2020, however Brittany refused to agree with the terms.
      b. Mr. Thaler has appealed to both Dawna (Brittany’s Mother) and Shauna (Brittany’s
           Aunt) to get Brittany to consider a settlement offer, to no avail
      c.   Mr. Thaler has appealed to Brittany’s attorney, Mr. Greg Davis, to arrange a face to face
           meeting between himself and Brittany at his office to discuss a settlement. He has
           offered Mr. Davis multiple opportunities for Brittany and himself to discuss settlement
           options
      d. Brittany has ONLY ONCE offered a settlement option, which was more like a manifesto
           than a settlement offer. It stated that John would not be a father to McKinley and that
           she would have the ability to overrule any court decision regarding her son. Brittany has
           not suggested Mr. Thaler and her meet to discuss their child and what is in his best
           interest.
III.       CLAIM: John’s motivation for filing these lawsuits is to bankrupt, harass and harangue
           Brittany – FALSE.
      a.   John Thaler’s motivation for filing all of the lawsuits has not been to bankrupt, harass
           and harangue Brittany, but rather to expose Brittany for the criminal that she is and to
           rightfully be reunited with his son, McKinley.
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b. Brittany took Mr. Thaler and her then, two-year-old son, McKinley, on September 16,
     2020, and never returned him on September 19, 2020 (this happened to also be the
     Jewish New Year – Rosh Hashanah and Mr. Thaler and McKinley were invited to my
     family to celebrate this High Holi-day with us) as ordered by the temporary custody
     agreement set forth by the Superior Court on February 20, 2020. She has not permitted
     Mr. Thaler to see, talk to, or have any communication with his son whatsoever since that
     time.
c.   Brittany has also not allowed any of Mr. Thaler’s friends or family to have any
     interaction or communication with McKinley.
d. I personally went to visit with McKinley at Brittany’s mother’s house located at 9502 E
     Olla Circle, Mesa, AZ 85212 on October 6, 2020, to make sure he was OK and to appeal
     to Brittany to allow Mr. Thaler and McKinley to see each other. She refused to allow me
     access to McKinley, and said that she would not permit Mr. Thaler access to him either.
     I heard their concerns and offered to attempt to mediate. Having spoken to Mr. Thaler, I
     texted Dawna (as I did not have Brittany’s number) and both Dawna and Brittany
     ignored any further communication from me.
e.   On December 12, 2020 (McKinley’s third birthday) I returned to visit with McKinley. I
     arrived laden with gifts and treats for McKinley from his father and myself. I was met by
     Dawna Chavez, Brittany’s mother, in the front of the house. Before I was able to exit my
     vehicle, Dawna had called the Mesa Police and proceeded to lie profusely. Dawna stated
     that I was being aggressive, vulgar, and threatening when in fact I had not yet had a
     chance to engage in any conversation whatsoever. Dawna was exhibiting frantic, erratic,
     and paranoid behaviors. She told the police, falsely, that she feared Mr. Thaler was
     hiding in my car with a weapon. Mr. Thaler was not even in Arizona at the time. I am
     completely unaware of whether the Mesa police dispatched a unit to Dawna’s home as I
     left after leaving the gifts and treats on the sidewalk as I did not want to engage with
     Dawna given her hysterical and frantic behavior. I never heard from the Mesa police
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      regarding this incident so I can only assume they also witnessed this irrational and
      erratic tantrum in response to someone bringing birthday gifts for her grandson.
 IV. Brittany Thaler is a technical trainer - FALSE.
 a.   Brittany Thaler is not just a mere technical trainer; she is a trial paralegal and from my
      understanding from Mr. Thaler she has been integrally involved in over 20+ trials. Mr.
      Thaler has also mentioned to me that Brittany has taught at a paralegal school. She is
      currently employed with iPro where she trains employees of law firms on the iPro
      software, given her extensive legal experience. Saying she is a technical trainer without
      mentioning that she is a Trial Paralegal is misleading to this Court.
 V. “Mr. Thaler is a convicted criminal” = FALSE.
 a.   Having been integrally involved in this case from the beginning, I have noticed that
      Brittany tends to transfer any of her own shortcomings, wrongdoings, and bad choices
      onto Mr. Thaler. If she is guilty of using drugs, she accuses Mr. Thaler of doing so. If
      she is stealing money from Mr. Thaler, she accuses Mr. Thaler of stealing money from
      her and so on. Brittany is the criminal. She is involved in many criminal schemes
      including money laundering, computer hacking, bankruptcy fraud, payroll fraud, etc.
      Mr. Thaler and I have spent the last couple of years uncovering extensive evidence of
      her criminal conduct and have and will continue to submit this evidence to the
      authorities. The details of these criminal actions are in Mr. Thaler’s federal complaint.
      Additional evidence is found in the reports of Questioned Document Examiner, Linda
      Mitchell, as referenced below and attached as exhibits hereto.
b.    Brittany refers to herself as Mr. Thaler’s ‘ex-wife’, however the forensic document
      expert, Linda Mitchell, has confirmed that the judge’s signature on the Divorce Decree
      is fake (a tracing forgery)
VI. Mr. Thaler violated an order of protection against Brittany is false.

 a.   The order of protection that Brittany got against Mr. Thaler was fraudulently obtained.
      This can be verified by the fact that the case number for the order of protection (FC
      2019-098471) is higher than the case number for the Petition for Dissolution of Marriage
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     (FC 2019-098211), however the Order of Protection was filed before the Dissolution of
     Marriage.
b. Mr. Thaler’s ONLY contact VIA TEXT with Brittany following the Order of Protection
     was in December 2019 when he was admitted to hospital to undergo an angioplasty
     procedure and needed to submit a copy of his Living Will to the hospital prior to the
     procedure. This document was in Brittany’s possession at that time. (how do you know
     this?) Thereafter, Mr. Thaler had absolutely NO contact with Brittany whatsoever. I was
     with Mr. Thaler every day, all day and he discussed with me every contact he had with
     Dawna regarding McKinley.
c.   Brittany filed multiple FALSE reports that Mr. Thaler violated the Order of Protection.
     Many of the days and times she said he texted her, Mr. Thaler and I were together
     working, and I can vouch for the fact that he did NOT text Brittany. However, whenever
     Brittany / Dawna failed to bring McKinley to a custody exchange, Mr. Thaler would file
     a report of interference with judicial proceedings, violation of custodial rights and
     custodial interference with the Mesa Police Department. Those charges were never filed
     by the Mesa police with the City Prosecutors office and charges were never filed against
     Brittany and Dawna for those violations.
d. From my understanding John did not have Brittany’s new phone number as she got a
     new phone and mobile account after they split.
e.   Brittany and I had a personal in person exchange on October 6, 2020, where she quoted
     private text messages I had sent to Mr. Thaler to which she would ONLY be privy had
     she either seen his phone or seen the messages. Mr. Thaler never allows anyone to
     access his phone as he is extremely protective of his communications with his clients
     and their right to ‘attorney / client privilege.
f.   Therefore it is obvious that Brittany cloned Mr. Thaler’s phone. During our
     investigations we found communications between Brittany and a company on the east
     coast where she was inquiring about the ability to clone a phone and the length of time it
     would take to do so. Mr. Thaler would often complain to me, when he was still living
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     with Brittany, that Brittany would ‘take’ his stuff and then miraculously find it,
     especially items such as his phone, keys, briefcase etc. This happened frequently before
     he was scheduled to leave for a business trip. One such time she stole his phone for an
     entire day / night so he could not leave on his trip until the following day when the
     phone ‘reappeared’.
g. Brittany filed multiple FALSE reports regarding Mr. Thaler violating the restraining
     order resulting in multiple hearings. These were scheduled during Covid-19, which
     made it extremely challenging to appear in person. In addition, some of these hearings
     were scheduled when Mr. Thaler was either in another court representing a client or in
     hospital due to extremely high blood pressure attacks. Even though Mr. Thaler
     communicated as such to the Mesa Municipal Court, warrants were issued, and Mr.
     Thaler was forced to leave Arizona.
h. Mr. Thaler hired an attorney, Charlie Neagle, who has appeared at EVERY hearing on
     Mr. Thaler’s behalf, so even though he has not been present, he has been represented by
     Counsel. Mr. Neagle initially stated that he would be able to get the warrants quashed as
     long as a plea was entered, as was ‘normal’ protocol in the Municipal Courts in Arizona.
     However in this case the Judge refused to quash the warrants. Mr. Neagle explained
     the situation to the Judge and asked that, given the extenuating circumstances, these
     cases be moved to another court. In addition, Mr. Neagle informed the Judge that as long
     as the warrants were in place, Mr. Thaler felt it was not safe to return to Arizona (he did
     not trust the Mesa Police given that he had identified some were corrupt). Therefore, he
     was unable to prepare for or participate in the trial. In addition, by keeping the warrants
     in place, the Judge was assisting Brittany in keeping McKinley from Mr. Thaler as he
     was unable to be in Arizona and therefore unable to schedule visitations. The Mesa
     Municipal Judge still refuse to quash all the warrants.
VII. Filed frivolous pleadings
a.   Mr. Thaler has only filed motions that are backed up by extensive evidence. For the first
     approximate nine months, Mr. Thaler did not initiate any legal action. His sole
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     engagement in any Court action was in response to Brittany’s multiple filings and
     motions.
b. Every motion filed by Mr. Thaler has included a signed declaration where Mr. Thaler
     has declared under penalty of perjury that what he was saying was true. Brittany has yet
     to file a single court document where she declares that what she says is true under
     penalty of perjury.

c.   Mr. Thaler has only initiated legal action to gain access to his son. Prior to Brittany
     taking McKinley in September 2020, Mr. Thaler’s motions and filings were all in
     response to Brittany’s motions et al.
VI Engaged in inappropriate and unreasonable behavior
a.   Mr. Thaler has NEVER engaged in any inappropriate or unreasonable behavior. Mr.
     Thaler has always been respectful in Court and in his engagements with any court
     appointed individuals. Getting upset or frustrated after Brittany took McKinley and
     refused to participate in the court ordered exchange is not ‘engaging in inappropriate or
     unreasonable behavior’. Anyone with children knows that it is definitely reasonable
     to be frustrated and upset if another individual does not permit you access to your
     child.
b. Mr. Thaler is an outstanding parent and has always only shown love, devotion, caring,
     kindness, patience, and dedication to his son and other children.
c.   This is yet another example of where Brittany transfers her behavior to Mr. Thaler. It is
     Brittany who has engaged in inappropriate and unreasonable behavior.
d. McKinley would tell Mr. Thaler and me stories about his mama (Brittany) when he
     would spend time with us. These would seem to involve inappropriate behavior on
     behalf of his mother.
VIII.         Was in a state of mental health that was questionable and of serious concern
     AND Failed to complete and even blatantly refused to engage in a court ordered
     psychological examination
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a.   Once again, this is evidence of Brittany’s strategy where she transfers her own issues
     onto Mr. Thaler. Mr. Thaler NEVER refused to have a psychological examination and
     was never in a state of questionable mental health. Mr. Thaler offered to have the
     psychological examination to both Mr. Greg Davis (Brittany’s attorney) and to the Court
     Appointed Advisor, Barb Kiffmeyer. His only request was that it be MUTUAL. It was
     Brittany who REFUSED to participate in the psychological examination.
IX. Intentionally misled the Court by making baseless and unfounded allegations …
a.   Every single allegation made by Mr. Thaler was supported by evidence. I personally
     have seen and verified every document that has been submitted as evidence of Brittany’s
     criminal activity. On the contrary, each allegation made by Brittany against Mr. Thaler
     has been made without submitting any evidentiary support.
b. Every motion filed by Mr. Thaler in the Dissolution for Divorce and Custody case while
     Judge Marvin Davis presided over the case was denied or ignored, whereas every
     motion filed by Brittany was granted. For the support of bias by Judge Davis – note the
     evidence cited in the underlying motion by Mr. Thaler of Judge Davises receiving bribes
     at least in the form of phony mortgage.
X. Made claims that did not appear to be “tethered to reality”…
a.   The claims made by Mr. Thaler against Brittany are difficult to comprehend given the
     magnitude and expanse of the criminal activity she is involved in, however, every claim
     was based upon evidence found through extensive and thorough investigation and
     research. All these findings were presented to the Court. The fact that the Court ignored
     all the evidence suggests that Judge Marvin Davis was either being bribed, blackmailed,
     or threatened to support Brittany’s case.
XI. Acted in a manner that could seriously damage the wellbeing of his child
a.   Nothing is further from the truth and once again, I see this as Brittany once again
     transferring her own behavior and guilt onto Mr. Thaler. Brittany is the one that is acting
     in a manner that is seriously damaging her child. By keeping McKinley from any
     interaction with his father she is alienating McKinley from a parent, which has been
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     researched by therapists and verified to have very deep and long-term psychological
     effects on a child.
b. Mr. Thaler is one of the most dedicated, loving, caring, responsible and devoted parents
     I have ever met.
c.   Mr. Thaler has a son who is twenty, whom he had fifty/fifty custody of with his ex-wife.
     Mr. Thaler was Matthew’s primary care giver until he was fifteen.
d. Matthew is a wonderful, independent, bright student who attends Berkley University in
     Northern California.
e.   I have personally seen Mr. Thaler interacting and caring for McKinley and he is amazing
     with him. He is completely dedicated to his children. Mr. Thaler enjoyed taking
     McKinley swimming, to the Dinosaur Museum, to the Aquarium, to the Zoo, to Baseball
     games and to seasonal events.
f.   I have two teenage daughters and one young adult daughter and Mr. Thaler is the first
     person I turn to when I need any parenting advise or guidance. He has incredible insight
     into parenting and raising children. He has spent time reading parenting books and
     shares what he has learned both from the experts and his own experiences. He is
     extremely knowledgeable when it comes to raising kids.
XII. Filed pleadings that were incoherent/delusional solely for the purpose of
     threatening and harassing everyone in the case
a.   As I previously stated, every pleading, motion or brief filed was substantiated with
     numerous exhibits that evidenced any claims made. I proofread all documents filed. I
     can attest to the fact that there was not a single document filed that was incoherent or
     delusional.
b. The purpose of filing every motion and every brief or pleading was, as I stated
     previously, to expose Brittany for the criminal that she is and to plead with the
     Court to order Brittany to return McKinley to Mr. Thaler and reinstate the 50/50 custody
     agreement.
XIII.        The Court Sanctioned Thaler and ordered him to pay me more than
     $90,000 in legal fees – False
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a.   The Court proceeded with the trial on December 29, 2020, despite Mr. Thaler being
     rushed to hospital with severe cardiac symptoms and not being able to participate. I bear
     witness to the fact that John was in Hospital in Las Vegas on 12/6/2020, 12/10/20 and
     12/29/20. I was with John 24/7 for the week between Christmas and New Year of 2020
     helping him prepare for the trial. John had no contact with Brittany or Dawna during
     that week. On 12/29/20 while I was in Las Vegas, and I personally rushed him to the
     hospital as he was exhibiting symptoms of possibly having a heart attack. His Blood
     Pressure was excessively high, and he was sweating, weak, had chest pain and was
     extremely pale. John has been having these ‘attacks’ since 2019. I have personally taken
     him to hospital on three separate occasions. I called the Court to inform the Judge
     regarding Mr. Thaler’s medical emergency. Judge Davis, completely uncompassionate,
     ruled that the trial would continue. Judge Davis permitted me to listen in on the trial. I
     subsequently heard Brittany tell one untruth after another with regards to bills, costs,
     marital assets and so on. I am very well versed in the breakdown of the marital assets
     and it was just too convenient that the costs Brittany incurred amounted to almost an
     equal dollar amount of Mr. Thaler’s portion of the marital assets.
XIV.         The Court granted me sole legal decision-making authority over our minor
     son and granted Mr. Thaler supervised visiting time only.
a.   Judge Marvin David proceeded with the custody hearing and the trial despite Mr.
     Thaler’s submission of medical records indicating that he was in hospital for cardiac
     issues on both occasions. Linda Mitchell, the forensic document expert, reported that all
     the documents seemingly signed by Judge Davis were fake. All those signatures were
     either copied or traced. The signature on the Decree and on one of the rulings were done
     by the same person and were definitely not that of Judge Davis. Therefore the ‘ruling’ of
     the Court granting Brittany sole legal decision-making authority is null and void.
b. Even IF the ruling were authentic, Brittany has not permitted Mr. Thaler to see or speak
     to McKinley since September 16, 2020, supervised or not. Mr. Thaler has attempted to
     schedule visitation in a supervised facility with a supervisor and Brittany failed to bring
     McKinley to the facility. Instead, she called the police so that they would go and falsely
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      arrest Mr. Thaler. Mr. Thaler, luckily, left a few minutes before the police arrived to
      arrest him.
c.    Your Honor, how could Mr. Thaler have participated in these two-hour, twice a week
      visits with his son when he was being run out of the State and was unable to return?
      Despite this fact, I witnessed Mr. Thaler reaching out multiple times to Mr. Davis
      requesting information on the process of getting in touch with the newly appointed
      facilitator to at least be able to video conference with his son. He was NEVER furnished
      with this information. Every request was ignored. Not wanting to violate the restraining
      orders, he had no other individual to contact to find out this information and had no
      other means by which to arrange any opportunities to see his son. Mom and Grandma
      did NOT even permit McKinley to see his father on his third birthday, despite Mr.
      Thaler’s multiple requests to, at the very least, speak to or video conference with his son
      communicated through Mr. Davis.
d. It is my personal opinion, based on what I have seen and been privy to with regards to
      this case, that Brittany has absolutely NO intention of EVER allowing Mr. Thaler to
      have a relationship with his son. Mr. Thaler has appealed on numerous occasions to
      Brittany’s aunt and attorney to find a way for Mr. Thaler to see his son. I have
      personally written to Brittany’s mother appealing to her to find a way for Mr. Thaler to
      see his son, to no avail.
XV.           Shortly after the court entered the decree of dissolution, Thaler file an
      unsolicited ex parte communication claiming, with no evidence, that the divorce
      decree had been forged by my attorney – False
a.    Mr. Thaler has always filed documents with the Court and attached evidence of any
      claims to substantiate his findings. I help assemble these documents and exhibit packets.
      Mr. Thaler did state that the divorce decree was forged and this was substantiated by
      Linda Mitchell, Forensic Document Expert.
XVI.          In a last-ditch effort to avoid his consequences, Thaler moved to have his
      judge disqualified and all orders set aside
a.    Thaler did move to have Judge Davis removed from this case and all orders set aside,
      but not for the reasons indicated by Brittany. Mr. Thaler never submitted a motion to
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     have Judge Davis disqualified, but rather to have Judge Davis dismissed from presiding
     over this case. Mr. Thaler filed these motions once it was clearly apparent that Judge
     Marvin Davis was either being bribed, blackmailed, or threatened to allow Brittany to
     sabotage his courtroom. Mr. Thaler was left no choice but to include Judge Davis in the
     federal litigation filed in California at the time. Given that Judge Davis was now a
     defendant in a federal lawsuit brought to the federal court by Mr. Thaler, Mr. Thaler was
     obligated to request that Judge Davis step down or be dismissed from handling this case
     and one would assume that Judge Davis would, of his own accord, step down from this
     case. He did not.
XVII.       While the divorce case was pending, Thaler engaged in harassing conduct
     towards me even outside the confines of the case. False.
a.   As indicated previously, Mr. Thaler has had zero contact, via text, email, phone or in
     person with Brittany after his initial hospitalization and subsequent angioplasty
     procedure. Mr. Thaler has certainly not engaged in any harassing conduct towards
     Brittany or any contact whatsoever that I have witnessed. The only contact Mr. Thaler
     has had with Brittany has been to serve her as required by the Court.
XVIII.      Thaler violated the order of protection on numerous occasions and had 26
     encounters with the Mesa Police Department between December 13, 2019 and the
     date of the divorce decree that involved "charges/allegations. of interference with
     judicial proceedings, custodial interference or an Order of Protection.''.
a.   John Thaler did not violate the order of protection. Mr. Thaler was the one who reported
     Brittany and Dawna for “interfering with judicial proceedings” and “custodial
     interference”, not the other way around. The only FALSE and FRUADULENT reports
     from Brittany against Mr. Thaler were that of violating the order of protection. As
     mentioned now three times, the ONLY interaction Mr. Thaler initiated with Brittany was
     when he was in hospital and needed his living will.
XIX.        Thaler sued me in Clark County, Nevada, seeking a divorce and custody of
     our child
a.   In the custody trial on December 29, 2020 Brittany expressly stated that Mr. Thaler had
     no interest in seeing McKinley. However, in each motion filed by Mr. Thaler he
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      expressly states his angst over Brittany withholding McKinley from him and the fact
      that he sues her in Nevada for custody is once again proof of his dedication and
      commitment to being an engaged and active father in McKinley’s life.
XX.         In the Complaint for Annulment that Thaler filed in the Clark County court,
      he baselessly claimed that I had committed polygamy and fraud, and made a
      number of other false statements in an effort to gain custody of his child, despite
      the Maricopa County court having already decided this issue.
a.    Brittany is listed as being married to multiple individuals in recorded deeds with the
      Maricopa County Recorder’s Office. I have personally seen these deeds and compiled
      the motion and exhibits to provide them to the Judge in Clark County Nevada. The
      Judge in Nevada did not consider these polygamy claims as “baseless” and was quite
      prepared to take over jurisdiction of this case provided Arizona was prepared to give up
      jurisdiction over it. Judge Bruce Cohen and Judge Marvin Davis denied this request.
      None of the statements made by Mr. Thaler in this annulment complaint were false.
      They were all substantiated, once again, by evidence.
XXI.          In particular Thaler accused me and my family of being "career
      criminals,... who engaged in "real estate fraud, money laundering, insurance
      fraud, mortgage fraud, tampering with official records, bribery, forgery and
      extortion."
a.    These accusations are all substantiated by evidence I have personally seen and that have
      been viewed by experts such as Linda Michell, Forensic Document Expert, other
      attorneys and even lay individuals who have stated that the writings and signatures all
      resemble that of Brittany and Dawna. These documents have been submitted to the
      authorities for further investigation.
XXII.         Thaler has made it clear that he will not stop his bullying of me or his abuse
      of the legal system until this Court makes him.
a.    Mr. Thaler has and does not ‘bully’ Brittany. Mr. Thaler has appealed to Brittany
      through her attorney to settle this case as any regular divorce in Arizona. He has
      repeatedly stated, in front of me, that all he wanted was 50% custody of his son and 50%
      of the marital assets.
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b. It is Brittany who has taken a so-called ‘regular’ divorce case and turned it into a
     complete abuse of the legal system.
c.   It is Brittany who has violated the February 20, 2020, court order numerous times.
d. It is Brittany who has withheld McKinley from Mr. Thaler for over a year. It is Brittany
     who has stollen the marital assets that belong to Mr. Thaler (Over $100,000) and it is
     Brittany who has refused to act reasonably and rationally by refusing to settle this case
     as any ‘regular’ divorce case in Arizona. I have been through a divorce myself after a
     22-year marriage, I know many attorneys who handle divorces and have a large group of
     friends who have been through a divorce in Arizona and unless one party stipulates that
     they would prefer less parenting time, in almost all cases, the marital assets are split
     50/50, and custody is 50/50. Mr. Thaler and Brittany were married for three years. This
     divorce should have been simple and easily resolved.

e.   It is Brittany who has created a mountain out of a molehill, which can only be explained
     by her fear of going to prison and her using her son as a bargaining chip with Mr.
     Thaler. In my opinion, given what I know about the case, Brittany is not the victim,
     Brittany is the bully.


I declare under penalty and perjury of law that the foregoing is true and correct, and if called
     as a witness, could and would testify competently thereto.


Executed on this 22 day of September 2021 in Scottsdale, Arizona




                                                 _________________________
                                                 JACQUELINE S. BREGER
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                               DECLARATION OF STEVEN ROTH
 1
            I, Steven Roth, declare as follows:
 2
            1.     I am not a party in this matter and am over the age of 18. I have personal
 3
     knowledge of the facts stated herein and if called as a witness could and would testify
 4
     truthfully thereto.
 5
            2.     Since 1991, I have been a California licensed Life, Accident & Health
 6
     insurance Agent (License #0832811). In 2014, I obtained my California Life & Disability
 7
     Insurance Analyst license (same license number). This License number is 0832811. Since
 8
     1991, during the ordinary course of my business, I have examined tens of thousands of
 9
     documents in connection with pending and contemplated litigation. In some of those
10
     matters, the question of forgeries and false personation was at issue.
11
            3.     I have extensive experience and extensive training, including annual ongoing
12
     training and my independent ongoing review of insurance rules, regulation, relevant
13
     insurance and business and professions’ code and other statutory authority, as well as case
14
     law governing the life insurance policies, including the sale to customers of same.
15
            4.     Since 2004, I have served as a litigation consultant and testifying expert
16
17   witness in insurance cases. I now have approximately twenty-nine (29) years of experience

18   in the insurance industry. I have been involved in at least fifty policyholder/insurer disputes,

19   which have resulted in over $200 million of recoveries for policyholders. These have been

20   in both individual and class action lawsuits throughout the country. I have been accepted or

21   qualified as a subject matter expert and have testified in California State Court, Federal

22   Court, Bankruptcy Court, and before the Financial Industry Regulatory Authority

23   (“FINRA”). I have also been a frequent speaker concerning life insurance education events

24   to audiences of lawyers and other professionals. I have been interviewed by Forbes (several

25   times), The Wall Street Journal, and Investor’s Business Daily. A true and correct copy of

26   my current curriculum vitae is attached hereto as Exhibit A.

27          5.     I have known John Harris Thaler since 2000. I have had periodic contact with
28
                              DECLARATION OF STEVEN ROTH REGARDING THALER
                                                  Page 1 of 4
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 1   Mr. Thaler since that time.
 2          6.      In late 2020, Mr. Thaler contacted me concerning a series of matters that he
 3   described to me as having potential merit to warrant civil and criminal action. These matters
 4   involved his then wife Brittany Chavez Thaler, as well as several members of her immediate
 5   family and others.
 6          7.      Mr. Thaler presented me with a large body of documents bearing what he
 7   suspected was the handwriting and signature style of Brittany Chavez Thaler and her mother
 8   Dawna. These documents were from numerous bankruptcy filings, insurance claims,
 9   business formation and banking records, employment records, medical liens, and others.
10          8.      Over the years, I have worked with several questioned documents examiners as
11   part of my occupation. In examining the documents, I saw stunning similarities and
12   hallmarks between the handwriting and signature style within the documents of what
13   purported to be several unrelated individuals with the first name of “Brittany”.
14          9.      Mr. Thaler presented me with a questioned documents examiner report dated
15   March 14, 2021, from Linda L Mitchell, D-ABFDE, Certified Forensic Document Examiner.
16   Ms. Mitchell concluded that some of the questioned documents provided to her by Mr.
17   Thaler, involved Brittany Chavez Thaler as probably or being indicia of her signing
18   documents under at least seven (7) other identities. Ms. Mitchell could not eliminate Brittany
19   Chavez Thaler as the author of several other identities.
20
            10.     I understand from Mr. Thaler that Ms. Mitchell has recently completed her
21
     review of additional documents and concluded that Brittany Rae Chavez Thaler and her
22
     mother Dawna Rae Chavez are in fact the authors of the alleged phony bankruptcies and
23
     other torts.
24
            11.     I observed from my review of the documents provided to me by Mr. Thaler
25
     that at least one business that was recorded with the Arizona Secretary of State as being
26
     organized by Brittany Chavez Thaler was suspicious on its face. That business was B’s
27
     Learn N’ Play, a purported childcare facility located at 6211 W Indianola Ave. Phoenix, AZ
28
                              DECLARATION OF STEVEN ROTH REGARDING THALER
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 1   850331. Below is a picture I copied of the location from Google Maps from a February 2019
 2   image capture of the property.
 3
 4
 5
 6
 7
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 9
10
11
12
13
14
15
            12.    The address for that business is a run down small single-family home with
16
     other businesses, including a computer-related business, using the same address. I could also
17
     find no advertising or Google or Yelp listing for B’s Learn N’ Play. I cannot imagine
18
     anyone sending their child to such a location or business, or that business being legitimate.
19
            13.    Based on the information provided to me by Mr. Thaler, along with my
20
     independent investigation, which included my reviewing hundreds of documents, I came to
21
     the opinion that there was probable merit to at least some of Mr. Thaler’s claims concerning
22
     Brittany Chavez Thaler and her associations based on having more complete information and
23
     documents for those matters.
24
            14.    On that basis, I contacted the FBI to report the incidents and see if they had an
25
26   1 https://www.google.com/maps/place/6211+W+Indianola+Ave,+Phoenix,+AZ+85033/@33.4923166,-
     112.1931526,3a,75y,203.26h,90t/data=!3m6!1e1!3m4!1slUBqu5oz1neiSXUC-
27   9QwYw!2e0!7i16384!8i8192!4m5!3m4!1s0x872b152718b73f43:0x3bc093301ad3b092!8m2!3d33.492139!4d-
     112.1932504#
28
                             DECLARATION OF STEVEN ROTH REGARDING THALER
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 1   interest in an in-person meeting with Mr. Thaler and myself.
 2          15.    On June 10, 2021, Mr. Thaler and I met with an FBI agent in Los Angeles, CA
 3   at a law firm. Mr. Thaler made a presentation of some of his evidence to the FBI agent using
 4   a computer and projector. The meeting lasted approximately 2 hours. The FBI agent asked
 5   several questions. At the conclusion of the meeting, the agent stated that he wanted copies of
 6   the records and felt there was enough proof for him to write up the matter and recommend
 7   that an FBI investigation be initiated.
 8          16.    I have also discussed Mr. Thaler’s evidence and theories with several lawyers,
 9   who have expressed an interest in potentially pursuing one or more of these matters.
10
11          I declare under penalty of perjury under the laws of the State of California that the
12   foregoing is true and correct. Executed at Los Angeles, California.
13
14   Dated: September 21, 2021
15
16   _________________________________
17   Steven Roth, DECLARANT
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                              DECLARATION OF STEVEN ROTH REGARDING THALER
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                                                  STEVEN E. M. ROTH,
                                     California Life & Disability Insurance Analyst
                                                      Lic: #0832811

                                 President of Wealth Management International, Inc.




EMPLOYMENT HISTORY
2004 - Present – President of Wealth Management International, Inc: An objective financial advisory firm
that provides a comprehensive estate audit service – utilizing highly qualified experts – delivering unbiased,
complete, accurate advice and analyses through clear explanations of insurance, investment, tax, legal, and
risk management products/strategies – uncovering missed opportunities and sub-optimal issues, and
obtaining remedies on behalf of clients. Steven formed WMi as a result of his experiences within the
financial services industry. In his twenties, Steven fell victim to a Ponzi scheme called Tradex, which he
exposed in 2003 by going to the FBI, and where he was later fraudulently sued by investors trying to recover
their losses. While Steven prevailed in all of the cases, the lessons he learned from those experiences drives
him to do what he does and adds greatly to the protection his clients receive in avoiding loss. WMi’s and
Steven’s core services are uncovering financial scams perpetrated by agents, stock brokers, attorneys, and
other professionals on customers, and providing expert litigation support, expert testimony, and other
consumer-focused financial recoveries.

2002 - 2004 – President of R&D Asset Management: A globally diversified hedge-fund company trading in
currencies, equities, commodities, futures and options.

1993 - 2003 – Independent Insurance and Investment broker – represented over 30 insurers and mutual
fund companies nationwide (primarily representing New York Life Insurance Co. and NYLIFE Securities,
Inc.) – specializing in life and disability insurance, long-term care, variable insurance, and investment
products.

1991 – 1993 Agent for PennCorp Financial Group: Life and disability insurance agent.

PROFESSIONAL ACKNOWLEDGEMENTS
 Million Dollar Round Table Qualifying Member - 1994 - 2002
 Centurion Award (NYLIFE) - 1995 - 2002
 National Quality Award (National Assoc. of Insurance and Financial Advisors) - 1996 - 2002
 National Quality Award (National Assoc. of Life Underwriters) - 1997 - 2001
 President’s Council Award (NYLIFE: youngest agent to ever achieve this award in the company’s then 150-
  year history) - 1995
 Top Producer Award Western Region (PennCorp Financial Group) - 1991 - 1993

CURRENT LICENSES HELD (California)
 Life and Disability (Accident) and health insurance agent’s license (since 1991).
 Life & Disability Analyst (since 2014)

                                          Steven Roth’s Bio (2021)
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PREVIOUS LICENSES HELD (California)
 Series 6 & 63 (2003-2013 1)
 Real Estate Sales Persons
 Life Settlement Broker

ARTICLES AND SPEAKING ENGAGEMENTS
Articles
 Featured in Forbes Magazine: “Sounding The Alarm On Indexed Universal Life Insurance”, a
   consumer warning piece concerning complex premium financing and Indexed Universal Life insurance
   – September 23, 2020
 Featured in Forbes Magazine: “Kill The Messenger”, an critique of investment advisors and products
   – December, 2008
 Interviewed in INVESTOR'S BUSINESS DAILY:” Annuities: Plus Or Too Many Minuses?” discussing
   the fallacies of Equity Indexed Annuities’ returns – March 20, 2008
 Featured in Forbes Magazine: “Deferral Games”, an exposé on Private annuity Trusts – February 26,
   2007
 Interviewed by THE WALL STREET JOURNAL “’Structured Sales’ Aim to Ease Tax Bite, but Returns
   Are Slim” March 22, 2007

Speaking Engagements
 OffshoreAlert 12th annual conference: foreign and domestic life insurance, Life Settlement scams and
   litigation techniques and legal theories
 CreditCRM annual conference April 17, 2009
 Santa Barbara College of Law 2009 – 2012, numerous presentations to the SB Estate Tax Section on the
   topics of: Charitable Remainder Trusts, Private Annuity Trusts, foreign and domestic life insurance, Life
   Settlements, and annuity scams
 Various estate tax planning law firms August 2008 – present on the topics of: Charitable Remainder
   Trusts, Private Annuity Trusts, foreign and domestic life insurance, Life Settlements, and annuity scams

EDUCATIONAL SEMINARS TO LAW FIRMS AND ACCOUNTING FIRMS 2004 – PRESENT

Topics:
 Tax traps, hidden expenses and their impact on the viability of strategies and products
 Life settlement schemes and abuses of investors and the elderly
 Optimal and sub-optimal use of financial strategies and products
 Challenging conventional wisdom through analytic testing and modeling
 Uses and abuses of Variable, Fixed, and Equity Indexed Annuities, Private Annuities, Life Insurance,
   Premium financed Life Insurance and Life Settlements
 Evaluating Long-Term Care Insurance

1
 Ended by FINRA stipulation re selling away re: Tradex. Ca. Dept. of Corps. & FINRA (then the NASD), disagreed with advice Roth
had been provided by his then NYLIFE manager that Tradex was not a security.

                                                 Steven Roth’s Bio (2021)
                                                       Page 2 of 5
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 Foreign & Domestic Asset Protection
 Overlooked effective Income/Gift/Estate Tax Planning Strategies


In addition to the continuous educational requirements to maintain licensing, Steven enhances his
knowledge by participating in professional seminars and courses, and by being a member of various
industry information services and advanced planning professional development programs.

Steven’s extensive knowledge and objective analysis is frequently requested by attorneys, CPAs, and
investment and insurance advisors in their evaluation of financial products and tax strategies due to his
extensive knowledge and nationally recognized critical, objective pro-consumer analysis.

PRO CONSUMER LITIGATION SUPPORT
Serves as a consultant and expert witness to national law firms and top lawyers in numerous pro-consumer
cases, ranging from deceptive investment and insurance sales practices to unfair insurance claims
handling. To date, Steven has been involved in cases resulting in estimated $200 million plus of
settlements, awards and judgments.

2018 – Behfarin v Prudential, et al. (Class Action) identified a long-standing unfair business practice of Pruco
companies overbilling policyholders to cure defaults on universal life contracts nationwide. In 2001, Mr.
Behfarin purchased what ended up being a $1.5 million Pruco survivorship variable universal life (SVUL)
policy in effect on his elderly parents. In 2016, Mr. Behfarin timely paid more than the contractually
required three months of charges due to continue the policy. Pruco improperly returned the premium
then manufactured a policy lapse – claiming that the premium he remitted was insufficient, and that
enough money to pay 15 months was required. Pruco then improperly subjected Mr. Behferin’s parents to
re-underwriting / requalification for the polic. Pruco then found the Behrafins not healthy enough to keep
the policy. PruCo refused to honor the policy terms. A class action was filed and Pruco settled on a
nationwide-basis. The terms of the settlement required Pruco to only bill the correct 3-mo. amount
Capacity: Consultant.

2018 – William Bussen Vs. Westpark Capital Financial Services – AAA Case No. 01-16-0003-3623: Mr. Bussen
was sold a variable annuity under false pretenses as to the promised guarantees and rates of return. He
received $343,812.35 less than what he was promised in writing by the defendants’ representative. Roth
testified that defendants could not have reasonably believed that what they told Mr. Bussen about the
annuity to get him to invest was true, that Westpark negligently hired the rep., failed to disclose (as
required) the reps bankruptcy filing just a few years before advising Mr. Bussen on the annuity, and failed
to supervise their rep and maintain adequate supervision procedures. Roth further testified that
defendants acted fraudulently and willfully ignored their own SEC/FINRA required suitability procedure in
taking Mr. Bussen’s money. The arbitrator agreed – returning an award for the promised contract claims
of $343,812.35 and awarded $700,000 in punitive damages, for a total award of $1,043, 812.35. Capacity:
Testifying Expert.

2019 – Bryan Baker adv. North American Life Ins. Co.

2018 – Russell Burnam adv. North American Life Ins. Co. – Mr. Burnam purchased a large Indexed Life
Insurance policy from a friend and radio talk show entitled “smart money with Brian Baker”. Baker, the

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host told Mr. Burnam that the policy had a 3% minimum crediting rate guarantee. Three years into the
policy the policy credited 0%. Burnam retained Roth who got North American to waive a nearly $200,000
surrender charge. Litigation was unnecessary.
Capacity: Consultant.
2013 – Larry Fienberg Adv. Guardian Life Ins. Co. – Mr. Fienberg was insured under a disability insurance
policy. he had health issues that in his mind were marginal and did not cause him to file a claim under his
policy. His agent was aware of his health problems and two never lured him to potential coverage. Mr.
Roth from the opinion that Mr. Feinberg in fact had a covered claim for total disability under the policy.
with Mr. Roth help, Mr. Feinberg filed disability claim under the contract which was initially denied. after a
series of months and letters back and forth between guardian's claims Department and Mr. Roth, Guardian
ultimately agreed with Mr. Roth and approved the $2.5 million plus tax-free claim. Litigation was not
necessary. Capacity: Consultant.

2010 – KING v AMERIPRISE FINANCIAL SERVICES, INC.; THE LINCOLN NATIONAL LIFE INSURANCE COMPANY; et al
INC., FINRA case – Plaintiffs were induced to liquidate their securities accounts and invest the proceeds in a
variable annuity with the promise that the annuity had a principal guarantee against any loss. The annuity
value declined by over $600,000. Roth discovered there was no such guarantee on the annuity. The case
was settled early in the process, with defendants paying most all the loss. Capacity: Testifying Expert.

2010 - Sheila Becker v Jackson National Life, Wedbush Securities, Debbie Saleh and Betty Saleh – Elder abuse
case involving churning, unsuitable margin and securities purchases including hidden annuity churning to
maximize commissions at the cost to Ms. Becker. To carry out the scheme, account statements and other
documents were diverted to the Saleh’s father’s address, which was falsely listed as the address for Ms.
Becker. Settlements were reached with over $900,000 paid in damages for the malfeasance. The Saleh
sisters have been banned from the securities industry. Capacity: Consultant.

2010 - Upland Animal Hospital, et al v. Diversified Veterinary Management Corporation, Senex Insurance
Services, Hartford Life Insurance Co. Orange County Superior Court – Case No. 30-2011-00479421 – predatory
insurance marketing scheme selling an unsuitable, inflexible, expensive and misrepresented IRC Section
412(i) fully insured defined benefit program (funded with high cost/high commission life insurance
policies). Plaintiff’s losses were less than $500,000. The case was settled for $1,125,000. Plaintiff stated
that the case turned out so well due to Roth. Capacity: Testifying Expert.

2010—identified that Lifestyle Settlements, Inc., (LSI) then owned by publicly traded and national
conglomerate National Financial Partners (NFP), had violated California’s fraudulent life settlement act by
misrepresenting/understating bids to customers and their advisors on their life policies. LSI was
attempting to obtain the difference between the real offers and what LSI represented. Steve Roth sued
LSI as a pro per, including fraud, false advertising and unfair business practices claims. Roth litigated the
case for over 2 years. The case was settled to Roth’s satisfaction. Soon after, LSI was shut down. Its long-
time founder and principal, Richard Gardener, claimed to be “retiring” at that time. What a coincidence.
Capacity: Plaintiff

2009 — retained as a testifying expert in Selma J. Fisch Vs. John Hancock Life Insurance Co. et al. LASC Case
No. BC108198. The case involved the improper lapse and offer to reinstate the $50,000,000 policy on Mrs.
Fisch’s life at an increased premium of approx.. $1 million per year. Roth testified that John Hancock’s
premium notices were misleading and deviated from the industry standard. Roth also opined that John

                                          Steven Roth’s Bio (2021)
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Hancock’s policy interpretation was incorrect and that they acted fraudulently intending to induce the
lapse and repricing of the $50 million policy to protect their profits. John Hancock lost the case at the
motion for summary judgment stage. In addition to getting the policy back at the lower pre-bad-act price,
Hancock settled the case with the Fisch’s under confidential terms. Capacity: Testifying Expert.

2006 — identified that life insurance companies have been overcharging minors for policies, and
concealing when lower rates become available. In some cases, companies have denied premium
reductions even when the insured was eligible and requested them. 50+ Companies include: AXA
Equitable, MassMutual, New York Life and other top insurers. As of this date, litigation is ongoing. Some
class-actions are in process and others have settled. An estimated 1 million policyholders were deceived.
Capacity: Consultant.

2006 — identified deceptive and fraudulent practices in the sale of variable annuities by 20+ insurers and
resellers. This matter involves hiding of significant fees and the negative impact on policyholder-investors
accumulation values. An estimated $5 billion in consumer damages – affecting several million policyholder-
investors. Capacity: Consultant.

2005 — brought a lawsuit Steven Roth v USI Insurance Service Corporation (a publicly traded insurance
brokerage with over $350 million in annual revenue) for concealing excessive mark-up fees added to
customer policies. The case was settled in 2006. Capacity: Plaintiff & Consultant.

2001— brought a lawsuit Steven Roth v New York Life Insurance Co. for omitting life insurance and other
policy benefits from orphans and widows from claim forms which affected 4,918 families within just the 4
years prior to that case being filed for California alone — and a practice NYLIFE had apparently engaged in
since 1984. In 2003, the case was settled. NYL changed its’ claim forms and condolences letters –
providing adequate disclosure. Capacity: Plaintiff & Consultant.

                                         Steven Roth, President
                                  Wealth Management International, Inc.
                                  1901 Avenue of the Stars, Second Floor
                                         Los Angeles, CA 90067
                                             (310) 441-7300

                                   steven.roth@wmi-consultancy.com
                                       www.wmi-consultancy.com




                                         Steven Roth’s Bio (2021)
                                               Page 5 of 5
       Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 47 of 123




 1   John H. Thaler, In Pro Per
     c/o HARRIS/THALER LAW
 2   2150 East Sunset Road, Suite 6-124
     Las Vegas, Nevada 89120
 3   Tel. 818-206-4402

 4
 5   Plaintiff, In Pro Per

 6
 7
 8                           SUPERIOR COURT FOR THE STATE OF NEVADA

 9                                               CLARK COUNTY

10
11   JOHN HARRIS THALER                                  CASE NO. D-20-618845-L
12                   Plaintiff,                          DECLARATION OF JOHN J. STANLEY
                                                         RE: FALSIFIED CALIFORNIA
13
                     v.                                  DEFAULT JUDGMENT.
14
     BRITTANY RAE CHAVEZ (aka                            Hearing Date: March 18, 2021
15   BRITTANY RAE THALER),                               Time:         9:00 a.m.
                                                         Dept:         G
16                   Defendants.
17
18
19                                DECLARATION OF JOHN J. STANLEY
20           I, John J. Stanley, do declare:

21           1.      I am an attorney duly licensed to practice law before all courts in the State of

22   California. I specialize in criminal law.

23           2.      I have known Plaintiff John Harris Thaler for more than twenty (20) years and am

24   familiar with his work as an attorney and as an investigator. I am familiar with the Annulment

25   Complaint and its contents. The statements made by Mr. Thaler are true and accurate.

26           3.      Attached hereto as Exhibit “A” and incorporated by reference is a “Judgment” of the

27   Los Angeles County Superior Court allegedly entered in 2012 by Judge Leland Harris. That

28


                                        PLAINITFF’S COMPLAINT FOR DAMAGES
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 1   alleged judgment was not entered by Leland Harris. In fact, Judge Harris was never assigned any

 2   such case and never heard any such case.

 3          4.      I have known Judge Harris for more than fifteen (15) years. He has served as jurist

 4   on numerous arraignments concerning my clients. Judge Harris retired several years ago but still

 5   handles an overflow caseload as needed for the Los Angeles County Superior Court, Northwest

 6   District in Van Nuys, California.

 7          5.      In November 2020, I discussed with Judge Harris the alleged judgment and related

 8   documents in Case No. 11E11652. The purported judgment has a handwritten block printing for

 9   Judge Harris’ signature and hand printing on other parts of the document. But Judge Harris never

10   executed any documents in this manner. In fact, I have never seen any documents from Judge

11   Harris that look this way. During our conversation, Judge Harris confirmed that he did not execute

12   the “Judgment” and did not ever have any clerks do so. Judge Harris also stated that he never heard

13   any cases involving Tarzana Falls or Mr. Thaler or that he was ever assigned to hear any case

14   concerning judicial foreclosure.

15          6.      Additionally, Judge Harris stated that he is willing to testify to these facts or

16   otherwise provide a declaration to this effect.

17          7.      Because of security and privacy concerns, I can contact Judge Harris only through

18   the court clerk. I have left a message for Judge Harris to contact me so that Mr. Thaler and I can

19   secure a declaration from him.

20          I declare under penalty of perjury that the foregoing is true and correct and if called as a

21   witness, I could and would testify competently thereto.

22          Executed on this 16th day of March, 2021 at Los Angeles, California.

23
24                                         _____________________________________
                                           JOHN J. STANLEY
25
26
27
28

                                          DECLARATION OF JOHN J. STANLEY
                                                       2
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     Forensic Document Examination Report

              in RE: Marriage of Thaler
            on behalf of John Thaler, Esq.




                  Linda L Mitchell, D-ABFDE
           Certified Forensic Document Examiner
                   Sunday, March 14, 2021
          Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 50 of 123
LINDA L MITCHELL, D-ABFDE CERTIFIED FORENSIC DOCUMENT EXAMINER
   Mailing Address: 243 S. Escondido Boulevard #550, Escondido, CA 92025-4116 | 888.760.0339
   Lab Address: 260 S. Orange Street #10, Escondido, CA 92025 | 760.310.1279 | forensicqde@gmail.com
   Riverside Office: 7121 Magnolia Avenue, Riverside, CA 92504
   Long Beach Office: 444 W. Ocean Blvd. #813, Long Beach, CA 90802




                                      Laboratory Report Summary
   To: John H. Thaler, Esq                                                                     QDE Lab #: 21-01011.1
       2150 E. Sunset Road, Suite 6-124,
       Las Vegas, NV 89120                                                                     Date: March 14, 2021

   Re: Marriage of Thaler
       Case No: FC2019-098211

                                          EXAMINATIONS REQUESTED
As regards documents described below as MD1 through MD11 containing the purported signature of Marvin
Davis…
    1. Opine as to whether or not the signatures representing the name, Marvin L Davis, were all written by the
       same writer.
     2. Opine as to whether or not the signatures are fabricated or original.
     3. Opine as to whether or not the signatures were written by any of the other writers represented in documents
        provided as questioned and known writings of Brittany (Chavez) Thaler (K1).
     4. Opine as to whether or not the same writer authored the annotations on the upper right corner of each
        court document.
As regards the questioned documents described below as Q1 through Q69…
     5. Compare the signatures appearing on Q1 through Q63 and opine whether or not any were written by the
        same writer or by different writers.

                           DOCUMENTS SUBMITTED FOR EXAMINATION
Mr. Thaler provided digital copies of all the evidence via email, citing the absence of original documents. For both
subject groups (Q and MD), I transferred the signature evidence onto my database, isolated the pertinent contents,
and applied each signature to a direct comparison worksheet. Other aspects of the documents were examined intact.
Mr. Thaler requested that I summarize my findings in this report for the convenience of the court. This report does
not include the bases or supporting factors of my opinion and is not intended to be a full report of my findings. I will provide a full
report if requested.
Exhibit 1 contains a chart with descriptions of each document I used to arrive at my opinions and observations
followed by copies of each.
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                                                                                                 Laboratory Report #21-01011.1
    In RE: Marriage of Thaler
                                                                                                                March 14, 2021
    Case No: FC2019-098211




                                    OPINIONS AND OBSERVATIONS
As regards the purported signatures of Marvin L Davis…
      Assignment 1 - It is my current expert opinion that two of the signatures appearing on court documents are
likely written by a different person than any of the others.1 Signatures on the following documents are significantly
different than the others:
             MD5 – Revolving Credit Deed of Trust, Request for Notice of Default and Foreclosure under Superior
             Mortgages or Deeds of Trust, dated May 3, 2016.
             MD10 – Decree of Dissolution of Marriage, Brittany R. Thaler and John H. Thaler, case number FC2019-
             098211, dated December 31, 2020
     Assignment 2 – The examination of copies precludes an opinion regarding whether or not the signatures are
inked original to the documents; however, two of the signatures are identical to one another which supports the
opinion that one or both are not original signatures. The signatures have an appearance of either a rubber stamp or
a computer generated “line art” (vectorized) image. The following documents contain identical signatures:
             MD8 – Minute Entry, Marriage of Brittany R. Thaler and John H. Thaler, dated November 18, 2020
             MD9 – Minute Entry, Marriage of Brittany R. Thaler and John H. Thaler, dated December 14, 2020
      Assignment 3 – The signatures in question contain some variation that is notable. Without a collection of
genuine signatures for comparison, I am unable to establish whether or not the true signatory includes this variation
in his natural signatures.
     Assignment 4 – In my expert opinion, the annotations in the upper right corner of MD1-4, 8, 9, and 11 were
very likely authored by the same writer.
As regards the documents Q1 through Q69…
     Assignment 5 – Currently, it is my expert opinion, six (6) of the signatures in question were probably written
by the K1 writer (Brittany Thaler). 2 However, the names of these signatures are not hers. Questioned (Q)
documents in this category are:
             Q1 Carla D Chavez
             Q2 Candice C Chavez
             Q3 & Q4 Brittney [sic] Chavez
             Q33 & Q63 Brittany Phillips
    Attempts at disguise notwithstanding, certain habits appear in fourteen (14) of the documents provided
suggesting they were written by the same author. These patterns also appear in the known writer’s exemplars
suggesting that she may be the author of these signatures. 3 However, names of these signatures are not hers.
Questioned (Q) documents in this category are:
             Q7- Q11 Brittany Smith
             Q13, Q14, Q19, Q20 Q37, & Q48 Brittany Smith, Christine Smith
             Q26 & Q31 Brittany Leonard/Miller
             Q31 Justin Leonard

1 This opinion is consistent with a level 3 in the SWGDOC Guidelines for Expressing an Opinion. (See Exhibit 2)
SWGDOG publishes the standards used by forensic document examiners at SWGDOC.org
2 This opinion is consistent with a level 3 on the SWGDOC chart in Exhibit 2.
3 This opinion is consistent with a level 4 on the SWGDOC chart in Exhibit 2. This level of confidence is referred to as an

“investigative lead.”


                                                                                                                  2 OF 3
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    In RE: Marriage of Thaler
                                                                                                          March 14, 2021
    Case No: FC2019-098211




     Signatures in another larger group are missing certain elements necessary to support an opinion. I cannot
identify nor would I eliminate 4 the known writer (Brittany Thaler) as the author of the following:
             Q40 Brittany Smith
             Q41 Brittany Lauren Smith
             Q54 Brielle A Chavez
             Q55 Brittany A Smith
             Q12, Q36, & Q68 Britni Chavez
             Q51 & Q54 Brittany Marie Kirkwood
             Q18, Q61, Q66, & Q62 Brittany Miller,
             Q66 Nelson R Miller
             Q32 & Q49 Brittany N Smith

                                      LIMITATIONS OF MY FINDINGS
     All copies are problematic. The conclusions reached in this report apply only to the copy and not to the original
the copy purports to represent. The additional information provided by the original documents and additional
exemplars for Marvin L. Davis may support revised opinions with a higher level of certainty.

                                                     PROTOCOL
     This matter was examined and reported upon within the guidelines created by the Scientific Working Group
for Forensic Document Examiners (SWGDOC) now under revision and updating by OSAC and ASB. The
Organization for Scientific Area Committees (OSAC) was established to coordinate the development of standards
and guidelines for the science community. It is an arm of the U.S. Commerce Department's National Institute of
Standards and Technology (NIST). The Academy Standards Board (ASB) is an ANSI-accredited group established
by the American Academy of Forensic Sciences (AAFS) and is dedicated to developing documentary standards for
forensics. Standards are currently published at ASBStandardsBoard.org and SWGDOC.org.
     Exhibit 2 contains a chart representing my interpretation of the SWGDOC Standard Terminology for
Expressing Conclusions of Forensic Document Examiners. A current copy of my Curriculum Vitae (Exhibit 3) is
included in the report as is a copy of each document I examined. The digital files and work product related to this
report are filed in my archives. This report is being delivered via email and an original signed version is being
delivered to the address above.




Linda L Mitchell
Certified Forensic Document Examiner

Attachments:
1 – Documents Examined
2 – Chart of Terminology for Expressing Opinions
3 – CV of Linda L Mitchell

4   This opinion is consistent with a level 5 on the SWGDOC chart in Exhibit 2.


                                                                                                            3 OF 3
         Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 53 of 123
LINDA L MITCHELL, D-ABFDE CERTIFIED FORENSIC DOCUMENT EXAMINER
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   Riverside Office: 7121 Magnolia Avenue, Riverside, CA 92504
   Long Beach Office: 444 W. Ocean Blvd. #813, Long Beach, CA 90802




                                               Laboratory Summary
   To: John Thaler, Esq.                                                                       QDE Lab #: 21-091321.1
       2510 E. Sunset Road
       Suite 6-124
       Las Vegas, NV 89120                                                                     Date: September 23, 2021

   Re: Brittany Rae Thaler Matter

                                          EXAMINATIONS REQUESTED
     My current assignments encompass examining seven (7) sets of documents with the request to opine whether
or not Brittany Rae Thaler is the writer or signer of the document content
     Set One – Bankruptcy Documents (12) from 2008 through 2018 with the signatory’s first name – Brittany.
              Bankruptcy and Payroll Documents (19) from 2011 through 2020 containing hand printing in
              question.
     Set Two – Wells Fargo signature cards (2) and Dignity Health documents containing hand printing and
               signatures attributed to Brittany Chavez
     Set Three – Signature style comparison of three (3) samples
     Set Four – Leland B Harris block letter “signature”
     Set Five – Documents (2) related to Michelle Thorne Matter
     Set Six – Bank check contents and signature
     Set Seven – Judge Marvin Davis Signature on Summons

                           DOCUMENTS SUBMITTED FOR EXAMINATION
Mr. Thaler provided digital copies of all the evidence via email, citing the absence of original documents. I also used
comparative documents submitted for an earlier report produced March 14, 2021. Evidence for the current
examination was submitted five (5) days ago with the request that I provide preliminary findings in anticipation of
a coming court date. I am unable to produce a full and complete report of my opinions in that short of notice, but
I have been asked by my client to offer some observations that will provide support my ultimate opinions.
My full and complete report will be submitted within the next 14 days. It will include opinions for each set of
documents, my methodology, the basis of the opinions with supporting illustrations, limitations, caveats, and
protocol. By no means is this summary intended to be used as a report of my expert opinions.
          Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 54 of 123
                                                                                        Laboratory Report #21-091321.1
  In RE: Brittany Rae Thaler Matter
                                                                                                    September 23, 2021




                                            OBSERVATIONS

SET ONE
     Signatures in this group all share a similar formatting and handwriting rhythm. Each of the names shares
common characteristics with other name(s) such as, (but not limited to) letterforms, connecting strokes, slant, pen
stops, baseline adherence and overall movement. These similarities, though generic, suggest that most or all the
signatures could have been written by the same person and could be considered a part of the writer’s natural
variation.
     The Brittany Rae Thaler handwriting includes these same characteristics. The generic nature of the writing in
question precludes a definitive identification.
SET TWO
    The bank signature images are poor but reflect the overall patterns of Brittany Rae Thaler’s handwriting. My
examination has not begun on the Dignity Health documents
SET THREE
     Representative signatures in this group are not comparable. The terminal loops are not an adequate basis for
determining the author. The surname, Chavez, in all three examples is formed quite differently overall as is the
shape of each loop.
SET FOUR
     The block printing on this signature line matches the hand printing of Dawna R. Chavez. I recently received
additional handwriting samples and will continue my examination.
SET FIVE
     The introduction of additional samples for Dawna R. Chavez may help with this analysis.
SET SIX
     The bank check handwriting falls within Brittany Rae Chavez’ range of variation.
SET SEVEN
     When examined in conjunction with previous evidence there are clearly two different writers among this set
of nine (9) signatures for Judge Marvin Davis. Two signatures match each other and represent the personal real
estate documents of the signatory. The balance of the signatures matches each other, including the summons
signature. Each of them includes rhythmic garland strokes from one letter to the next. The signer of the real estate
documents probably was not the writer of the others.



     A current copy of my Curriculum Vitae is attached. This report is being delivered via email only.




Linda L Mitchell
Certified Forensic Document Examiner




                                                                                                          2 OF 2
        Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 55 of Page
                                                                     1231 of 4




   Linda L Mitchell, D-ABFDE
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Linda Mitchell is a Certified Forensic Document Examiner and Handwriting Expert. The work of a document examiner most often involves
the identification or authentication of handwriting; but, there are many other aspects of the profession that can be applied to a document in
question. Deciphering documents containing indented writings, and obliterated content and insertions of additional data are just a few
examples that can be part of a complex multiple–page document examination. Linda is fully capable of performing all such examinations.

Linda’s laboratory includes up–to–date equipment and a full library of reference resources. She provides informative presentations about
most aspects of the field document examination for small or large audiences, and is a competent expert witness confirmed in San Diego,
Orange County, Los Angeles, Riverside and San Bernardino Superior Court as well as Federal Bankruptcy Court. Linda is has also been
selected by the Office of the Secretary of State as the Voter Fraud Examiner for the 2016 election year through 2022.

Her professional research, was published in the Journal of the American Society of Forensic Document Examiners, June 2016, is entitled, A
Blind Study of the Reliability of Hand Printing Identification by the Forensic Document Examiner. She initiated this study in response to a
2013 ruling by the 7th District Court disallowing testimony because of the lack of meaningful research on the subject.

Linda Mitchell is also a contributing author and technical advisor to two recently published textbooks. Forensic Document Examination in
the 21st Century, edited by Jan Seaman Kelly and Miriam Angel, pp 105-109, 2021, CRC Press and the Second Edition of Forensic
Handwriting Identification: Fundamental Concepts and Principles, Ron Morris, 2021, Elsiver Ltd.

Ms. Mitchell completed her formal apprenticeship in questioned document examination under the direct supervision of Manny Gonzales,
who has more than 40 years of professional experience involving most aspects of forensic document examination. (Mr. Gonzales’ CV is
available upon request.) Her training conformed to SWGDOG.org guidelines and the Southwestern Association of Forensic Document
Examiners (SWAFDE) Training Guidelines (2006) which included training from FBI and Secret Service materials.

Education
            1970-73        AA in Dental Hygiene - Cerritos College, Norwalk, CA
            2006-08        BS in Criminal Justice Administration - University of Phoenix, Phoenix, AZ
            2008-11        Internship and Training in Forensic Document Examination - Alliance Forensic Services
Certification
            2014-now       Diplomate of the American Board of Forensic Document Examiners
Scope of Practice
            Expert Analysis and Testimony and Consulting for all types of document and handwriting matters
             Probate      Family Law           Personal Investigations
             Fraud        Medical Malpractice  Corporate Investigations
             Civil        Criminal             Private Matters
Areas of Expertise
            Expert Witness Testimony
            Handwriting and Signature Identification / Authentication
            Development & Deciphering of Indented Writings  Counterfeit Detection
            Analysis of Computer–Generated Documents  Photocopy Manipulations
            Relative Document Dating & Anachronisms  Decipherment of Obliterations
            Non–destructive Ink & Paper Analyses  Typewriting Classification & Identification
            Examination of Altered Documents  Photocopier Classification & Identification
Memberships
            ABFDE – Diplomate of the American Board of Forensic Document Examiners
            AAFS – American Academy of Forensic Sciences – Questioned Document Section (Fellow, Sec'y)
            ASQDE – American Society of Questioned Document Examiners (Member)
            SWAFDE – Southwestern Association of Forensic Document Examiners (Member)
            RCBA – Riverside County Bar Association (Supporting Member)




                                                           Linda L Mitchell, D-ABFDE
                                                                 888.760.0339
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Other Awards and Endeavors

         o Recipient of the AAFS 2020 Hilton Award for outstanding contributions to the profession
         o California Secretary of State – Voter Fraud Examiner 2016-2022
         o Moot Court Training for the San Diego and Riverside County Sheriff Crime Lab Trainees
         o US Attorney, Eastern California District Expert
         o San Bernardino County Public Defender Designated Expert
         o Riverside County Office of the Public Defender Expert
         o Fresno County Office of the Public Defender Expert
         o Tulare County Office of the District Attorney and Sheriff Dept. Expert

Publications 2009–Present

  2020      Forensic Document Examination in the 21st Century, contributing author pp105-109. 2021 CRC Press(Peer Reviewed)
  2016      The Reliability of the FDE in Identification of Hand Printing, A Blind Study. The Journal of ASQDE, Vol. 19, Number 1, June 2016,
            pp 25-32. (Peer Reviewed)
  2015      Is a Notarized Document Genuine? Syndicated through Ezine @rticles to NBIZ Magazine
  2015      The Forensic Significance of Handwriting Biometrics. Published in Digital Forensics Magazine (co-author Bill Flynn (ret.),
            certified forensic document examiner)

Examined Documents and Conclusions Rendered on Behalf of:

            CA Secretary of State                  Lanak & Hanah – Orange                       James O. Douglass, Esq. – Palm Desert
            United States Attorney's Office        Lurie, Zepeda, Schmalz, Hogan & Martin,      Sheppard, Mullin, Richter & Hampton - Palo
            Eastern District of California         APC - Los Angeles                            Alto

            Riverside County Public Defender       Best Best & Keieger – Riverside              Robert W. Pederzani, Esq. – Newport Beach
                                                                                                Burns, Schaldenbrand & Rodriguez –
            Fresno County Public Defender          Musick, Peeler & Garrett – San Francisco
                                                                                                Oceanside
            CA Dept. of Consumer Affairs           Hueston Hannegan - Los Angeles               Vivoli Sacuzzo, LLP – San Diego

            San Diego Co. District Attorney        Schorr Law – Orange County                   Zinder & Kock - Stevenson Ranch

            Tulare County Sheriff’s Dept.          Tulare County District Attorney              Anderson and LeBlanc - Upland


Presentations 2009–Present
  General Forensic Document Examiner Information

         o Embry-Riddle Aeronautical University, Guest Lecturer for General Forensics Class, Prescott, AZ

         o LSI (Legal Secretaries Inc.) Quarterly Conference, Palm Springs, CA

         o Lake University, Guest Lecturer for Criminalistics Class Camp Pendleton, CA.

         o ACFI (Association of Certified Fraud Investigators) (2 MCLE units) Orange County, CA

         o ACFI, Palm Desert, CA (co–presenter Manny Gonzales)

         o National League of Licensed Investigators, Ontario, CA (co–presenter Manny Gonzales)

         o Orange County Chapter of ACFI, Irvine, CA (co–presenter, Manny Gonzales) Forensic

         o Annual Conference of Calif. Assoc. of Licensed Investigators – (CALI), Costa Mesa, CA
           (co–presenter, Manny Gonzales)

         o San Diego Public Defenders (MCLE provider units; co–presenter, Manny Gonzales), Vista, CA

         o Other presentations to San Diego Republican Women’s Club, Escondido Rotary, Escondido Chamber of
           Commerce, Fallbrook Women’s Association, Forensic Expert Witness Association (FEWA San Diego Chapter)




                                                             Linda L Mitchell, D-ABFDE
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  Presentations to Colleagues
  Introduction to the Application of Practice Management Software for the FDE
          ASQDE Annual Scientific Session, Charleston, SC 2019 and AAFS Scientific Session 2020
  Discussion of research regarding the Reliability of the FDE to Identify Hand Printing
          AAFS – American Academy of Forensic Science Annual Scientific Session
          2017 and as part of a 6-hour Workshop on hand printing at AAFS 2020
  Arabic Signatures on American Documents; Are there Class Characteristics?
          AAFS – American Academy of Forensic Science Annual Scientific Session
          (Ron Morris, former USSS FDE presented on her behalf)
  Methods for Reassembling Crosscut Shredded Documents
          ASQDE Annual Scientific Session, Charleston, SC
          (presented on behalf of Larry A. Olson, Diplomate – ABFDE, IRS QD Lab, Chicago, IL)
  Training Requirements for the Forensic Document Examiner
          IAI, California Regional Education Conference, San Diego, CA (co–presenter, Manny Gonzales)
          IAI, International Educational Annual Conference (co–presenter, Manny Gonzales), Spokane, WA
  Computer–Generated Altered Document Detection
          SWAFDE, 30th Anniversary Meeting, Scottsdale, AZ
          IAI, International Educational Annual Conference (co–presenter, Manny Gonzales), Spokane, WA
  Onsite Infrared/Ultra Violet Examination of Questioned Documents
          SWAFDE Annual Scientific Session (co–presenter, Manny Gonzales), Los Angeles, CA

Highlights of Approved Continuing Professional Education
        • AAFS – Annual Scientific Session attended 2007–2012, 2015–2021
        • ASQDE – Annual Scientific Meetings attended 2011–2015, 2017–2020
        • Texas A&M – Foundations of Fingerprint Comparison 2015
        • SWAFDE – Annual Conferences attended 2009–2016, 2018
        • NIST – Measurement Science Standards in Forensic Handwriting Analysis Conference 2013, 2015
        • ICAP – Annual Education Conference 2012
        • FBI/NIJ – Impression and Pattern Evidence Symposium 2012
        • Notary Public Mandatory Training 2012, 2016
        • IAI – Annual Scientific Meeting 2012
        • LCI – Methods of Latent Print and Crime Scene Processing 2009
        • Escondido Adult Education – Photoshop Applications 2009
        • ST2AR FDE Workshop 2008
        • SEAK – Expert Witness Conference 2007

  Following are full names represented by the acronyms above:

  AAFS – American Academy of Forensic Sciences, multi–disciplinary professional organization that provides leadership to
  advance science and its application to the legal system. Highly regarded among forensic experts; membership in FDE section
  is vetted.
  ASQDE – American Society of Questioned Documents Examiners, the oldest and largest organization in the world dedicated to
  the profession of forensic document examination. Strict membership requirements.
  SWAFDE – Southwestern Assoc. of Forensic Document Examiners, a regional FDE organization; membership is vetted.
  IAI – Int'l Assoc. for Identification, oldest & largest forensic assoc. in the world. Membership in QD section is vetted.
  ICAP – Inland Counties Association of Paralegals
  LCI Services– Lewis Consulting and Investigative Training, Inc., a for–profit law enforcement training company.
  NIST – National Institute of Science and Technology
  SEAK – Skills, Education, Achievement, Knowledge, a for–profit continuing education, consulting & publishing company.
  ST2AR – Skill Task Training Assessment Research, Inc., training, testing and research provided for a fee by ABFDE certified
  Forensic Document Examiners with the express goal of advancing the forensic sciences.




                                                      Linda L Mitchell, D-ABFDE
                                                            888.760.0339
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                               I
This set of documents consists of Chapter 7 Bankruptcy
filings in multiple states. We contend that Brittany’s
handwriting appears on the hand written and hand
printed portion of the documents. Note that there are
approximately 5,000 bankruptcy filings that appear to
have Brittany’s handwriting/printing. The identifications
were made using first and middle names, e.g. Brittany
Rae ______, Brittany Nicole _______, Brittany Marie
_______, all of which are middle names commonly used
by Brittany regarding the trust deeds.
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              Signatures in question on
               Bankruptcy Documents
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Case 17-00367 Filed 10/27/17 Entered 10/27/17 14:11:29 Doc# 4 Page 1 of 1

                                                                  ALASKA
                   Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 62 of 123

ALMB 1 (01/04)                                                                                                         ALABAMA
                                          UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF ALABAMA
In re

 Brittany Meagan Avant                                                                                    Case No.
         Debtor


            Joint Debtor

                                           DECLARATION RE: ELECTRONIC FILING OF
                                             PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

         I [We] Brittany Meagan Avant                                      and -:--;:-_-:-;----;-;-_--;-_ _ _-:-:-_ _ _;-:-;--:--;:-_--;,­
the undersigned debtor(s), hereby declare under penalty ofperjury that the information I have given my attorney and the information
provided in the electronically filed petition, statements, and schedules is true and correct. I consent to my attorney sending my petition,
this declaration, statements and schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE:
ELECTRONIC FILING is to be filed with the Clerk once all schedules have been filed electronically but, in no event, no later than 15 days
following the date the petition was electronically filed. I understand that failure to file the signed original of this DECLARATION will
cause my ease to be dismissed without further notice.

        ciJ        [If petitioner is an individual whose debts are primarily consumer debts] I am aware that I may proceed under chapter
7, II, 12 or 13 of Title II United States Code and understand the relief available under each such chapter. I request relief in accordance
with the chapter specified in this petition. I declare under penalty of perjury that I have read and signed a completed Form B21 Statement
of Social Security Number, and that the information on the form is true and correct.

        D          [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.

        ~            [If petitioner files an application to pay filing fees in installments] I certify that I completed an application to pay the
filing fee in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case
may be dismissed and, if dismissed, I may not receive a discharge of my debts.

Dated: 09-19-14



Sign'dA~'¢rud                   ftvwl-                                                 Joint Applicant

PART II - DECLARATION OF ATTORNEY:

          I declare under penalty ofperjury that I have reviewed the above debtor's petition and that the in formation is complete and correct
to the bestofmy knowledge. The debtor(s) will have signed this form before I submit the petition, schedules, and statements. I will give
the debtor(s) a copy ofall forms and information to be filed with the United States Bankruptcy Court. I further declare that I have examined
the above debtor's petition, schedules, and statements and, to the best of my knowledge and belief, they are true, correct, and complete.
If an individual, I further declare that I have informed the petitioner that [he or she] may proceed under chapter 7, I I, 12 or 13 of Title I I,
United States Code, and have explained the relief available under each such chapter. Ifan individual, I further declare that the debtor(s)
have read and signed a completed Form B21 Statement of Social Security Number, and that I shall retain the form for a period of one (1)
year following the closing of the case. This declaration is based on all information of which I have knowledge.




Signed: ~:....--...."..,6.~~::(;"..f--..,.~======-----




            Case 14-32764             Doc 5       Filed 10/10/14 Entered 10/10/14 14:37:42                              Desc Main
                                                     Document    Page 1 of 1
   Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 63 of 123

                                                                   ALABAMA




Case 18-31823   Doc 6   Filed 06/29/18 Entered 06/29/18 16:47:11    Desc Main
                           Document    Page 1 of 1
                      Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 64 of 123
                                                                                                                                             5/31/16 2:15PM

                                                                                                                        ARIZONA

                                                                                                              FILED
                                                       UNITED STATES BANKRUPTCY CONJUN -6 Phi 3' 00

                                                                     DISTRICT OF ARIZONA                      CL EE ?


In re
         Brittany Michelle Mahoney                                    )          Chapter               7                     "''
                                                                      )
                                                                      )          CaseNumber2 ! t G "b k - 0 6 a / 4
                                                                      )
                                                        Debtor(s)     )
                                                      DECLARATION RE: ELECTRONIC FILING


PART I - DECLARATION OF PETITIONER:

     i [We]       Brittany Michelle Mahoney               and                                     , the undersigned debtor(s), corporate ofHcer or
partnership member, hereby declare under penalty of perjury that the information I have given my attorney and the information, including social
security numbers, provided in the completed petition, lists, statements and schedules is true and correct. I have reviewed and signed each of the
foregoing completed documents and my attorney has provided me with a signed copy of each to retain for my records. I consent to my attorney
electronically filing the completed petition, lists, statements and schedules with the United States Bankruptcy Court I understand that this
DECLARATION RE: ELECTRONIC FILING is to be filed with the Clerk after all schedules and statements have been filed electronically but, in
no event, no later than 21 days after the date the petition was filed or, in the event an extension has been granted, no later than 7 days after the
schedules and statements are filed. I understand that failure to file the signed original of this DECLARATION will cause my case to be dismissed
without fUrther notice.

           [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am aware that I may
proceed under chapter 7, 1 1, 12, or 13 of 11 United States Code, understand the relief available under each such chapter, and choose to proceed under
chapter 7. I request relief in accordance with the chapter specified in the petition.



 DATED:          May 31, 2016              3|2)1 |2D|lQ
 sIgNE:b\nmtl L|(dAMA4
                    rittany      '      Ie Mahoney
                 Debtor                                      "                          Joint Debtor




 SIGNED:

                 Authorized Corporate Officer or Partnership Member

PART II - DECLARATION OF ATTORNEY:

     I declare as follows: The debtor(s) will have signed this form before I submit the petition, schedules and statements. I will give the debtor(s) a
copy of all forms and information to be filed with the United States Bankruptcy Court and have complied with all other requirements in the most
recent Interim Operating Order. If an individual, I have informed the petitioner that [he or she] may proceed under chapter 7, ll, 12 or 13 of Title
11, United States Code, and have explained the relief available under each such chapter.


 "^"""' ""n'"°"                                                              S.nd,. c.o.w.lALm.aaaxm
                                                                             Attorney for Debtor(s)
                                                                             300 W. Clarendon Avenue
                                                                             Suite 290
                                                                             Phoenix, AZ 85013
                                                                             602-225-2222 Fax:602-773-5739

                                              (FILE ORIGINAL WITH COURT. DO NOT FILE ELECTRONICALLY)




           Case 2:16-bk-06214-PS                            Doc 6 Filed 06/06/16 Entered 06/07/16 14:34:33                          Desc
                                                             Main Document    Page 1 of 1                                                Best Case Bankruptcy
Software Copyright (C) 1996-2016 Best Case, LLC - www.bestcase.com
Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 65 of 123
     Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 66 of 123


                                                              ARIZONA




Case 2:17-bk-00975-PS   Doc 6 Filed 02/02/17 Entered 02/02/17 06:32:23   Desc
                         Main Document    Page 1 of 5
CaseCase 2:21-cv-01419-DLR
     11-43456               Document 77
                Doc 4 Filed 05/17/11     Filed05/17/11
                                     Entered   09/28/2111:18:12
                                                         Page 67 Desc
                                                                 of 123Main
                         Document    Page 5 of 5

                                                                  MINNESOTA
CaseCase 2:21-cv-01419-DLR
     11-43456               Document 77
                Doc 3 Filed 05/17/11     Filed05/17/11
                                     Entered   09/28/2111:17:33
                                                         Page 68 Desc
                                                                 of 123Main
                         Document    Page 1 of 1                     MINNESOTA
     Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 69 of 123
                                                         NEW MEXICO




Case 16-11549-t7   Doc 1   Filed 06/23/16   Entered 06/23/16 13:49:57 Page 6 of 65
     Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 70 of 123




Case 16-11549-t7   Doc 1   Filed 06/23/16   Entered 06/23/16 13:49:57 Page 46 of 65
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Case 16-11549-t7   Doc 1   Filed 06/23/16   Entered 06/23/16 13:49:57 Page 60 of 65
Case 6:08-bk-14917-MJ   Doc 4 Document
     Case 2:21-cv-01419-DLR    Filed 04/30/08   Entered
                                         77 Filed       04/30/08
                                                  09/28/21  Page19:21:47
                                                                 72 of 123 Desc
                         Main Document     Page 1 of 8


                                                                CALIFORNIA
     Case 2:21-cv-01419-DLR
Case 6:17-bk-15296-MJ  Doc 4 Document   77 Filed
                              Filed 06/23/17     09/28/21
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                                                       06/23/17 73 of 123 Desc
                        Main Document     Page 1 of 4
     Case 2:21-cv-01419-DLR
Case 2:16-bk-21108-DS   Doc 2 Document  77 Filed
                               Filed 08/19/16    09/28/21
                                               Entered     Page17:00:58
                                                       08/19/16 74 of 123 Desc
                        Main Document      Page 1 of 1
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          Printing from Bankruptcy and
          Payroll Documents in question
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Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 80 of 123
 Case2:21-cv-01419-DLR
Case  2:20-cv-01466-JLR Document
                        Document 77
                                 1 Filed
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                                          09/28/21 Page
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                                                                123
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Case 2:18-bk-13500-BKM   Doc 15 Filed 12/10/18 Entered 12/11/18 07:53:22   Desc
                         Main Document    Page 1 of 1
Case 2:21-cv-01419-DLR
Case 2:20-cv-01466-JLR Document
                       Document 177 Filed
                                     Filed10/02/20
                                           09/28/21 Page
                                                     Page106
                                                          83 of
                                                             of 109
                                                                123
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     11-43456               Document 77
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                         Document    Page 1 of 5
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                               II
This set of documents concerns the employment of Brittany
Cristal Chavez/Brittany Virginia Chavez at Dignity Health. We
came to these documents as follows: The 2018 Chapter 7
Bankruptcy filing of Brittany Virginia Chavez. The BK file
includes paycheck stubs with direct deposit of paychecks into
a Wells Fargo account. We subpoenaed the account records
and received signature cards attached herewith. We also
subpoenaed the DH employment records and received about
200 documents that confused a Brittany Cristal Chavez of
San Bernardino, CA with Brittany Virginia Chavez of Phoenix,
AZ. One set of W-2’s and one internal employee ID number.
The file consists of no duplicates - so one set of application
and employee acknowledgment forms to one set of
W-2’s and benefits summaries. The application and
acknowledgment docs and several of the annual reviews
appear to have our Brittany’s handwriting/hand printing.
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       Additional Authentic Brittany Chavez
                  Writing Sample
      Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 89 of 123




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          Signature in question from Wells
          Fargo Subpoenaed Documents
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          Printing in question from Dignity
          Health Subpoenaed Documents
 All problems according to Preflight profile
 Scale pages to specified size
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      08/21

 08/2021
 08/2021                                                    0071
 All problems according to Preflight profile
 Scale pages to specified size
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      08/21

 08/2021
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 All problems according to Preflight profile
 Scale pages to specified size
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      08/21

 08/2021
 08/2021                                                    0078
 All problems according to Preflight profile
 Scale pages to specified size
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      08/21

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 08/2021                                                    0079
 All problems according to Preflight profile
 Scale pages to specified size
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      08/21

 08/2021
 08/2021                                                    0080
 All problems according to Preflight profile
 Scale pages to specified size
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      08/21

 08/2021
 08/2021                                                     0186
Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 100 of 123




         Signatures in question from Dignity
          Health Subpoenaed Documents
  All problems according to Preflight profile
  Scale pages to specified size
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       08/21

  08/2021
  08/2021                                                    0081
  All problems according to Preflight profile
  Scale pages to specified size
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  08/2021
  08/2021                                                    0082
  All problems according to Preflight profile
  Scale pages to specified size
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       08/21

  08/2021
  08/2021                                                    0083
  All problems according to Preflight profile
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       08/21

  08/2021
  08/2021                                                    0084
  All problems according to Preflight profile
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       08/21

  08/2021
  08/2021                                                    0085
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                           III
Moreover, the handwritten signature on the forms
(allegedly from 2015) appear to match the signature of
“Brittany Chavez” on a deed with “husband” Douglas
Weingarten.


We refer to this signature style as the "FIGURE 8"
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        Figure 8 Style of Signature in question
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                          IV
Then there is the phony CA judgment. Judge Leland
Harris confirms that the hand printing on the judgment
is not his or from anyone on his staff. The hand printed
information and the hand printed signature of “Leland
Harris” appear to belong to Brittany (and likely are
Brittany). This fake judgment was filed as a sister state
judgment in Maricopa County, Arizona with attempts to
collect on the “judgment.”
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Feb LB 16 Og:24p                      Gerald Romanik                          1   "B1B-343-sS30               p.4               u,,la




                 I deficiency judgment may be ordered. The Court retains jurisdiction
                                                                                      t,r d,eterniinr: the
                 2 amount of deficiency, if any.

                 3            7
                                  '      After the time alio'"ved by law lbr re,rlemption has expirerd, if any, 6e
                                                                                                                      She,r.if    i
                 +^    slrall execute a deed to the purchasers at the sale, rvho may then take possession,
                                                                                                                  if L*r,,.g,-l
                 5     necessary, with the assistance of the Sheriff of the: Counfy
                                                                                                                          tr5-"       r   !
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                                                                                    of Los Angeles, Cof       ifu,ffi.
                 o            8'         Defendant John H. Thaler and ail pe,rsons claiming from and under
                 7     [him'&er], and allpersons having any lien sutrsequrent to the notice of ass,:ssment by a1y,
                 8    judgment on the real property hereinafter des,:ribed, and their
                                                                                      personal representz.tivos, zlrtl
               9      all persons claiming to have acquired any estate or interest in the premises
                                                                                                   subsecluant            tc>
           'ln
                      the recording      of the notice of pendency of thi:; actjon with the County Re,:order'. are
           rl         forever barred and foreclosed fiorn all equiry- of re<iemption in and claims, to the       premis;e,s,
           LL         and every part of the premises, from and after delivery of the deed by 1fie
                                                                                                  sheritf.
           i3                9'         The propelry which is the subje,:t of this judglnent and o:rcler is leqally
           14         described as:

           t5                           Lot2,Unit22,Tract      41873, as i;horvn on the applicabte
           t6                           recorded Tract Map in the records ol Los Angeles County.,
           t-l
           .t!                          Caiifbrnia,
          18          and more particularly described on that certain quitclaim deed recorded o1         April    L6, Z00j
          t9          as instrument number 20070902607,          which is conrmonly known as l Sflil0 Hatterz,s      Srr.e,:r,
          ZO          #22, T arzwra, Califomia 9 i 3 56.

          2l          DArED:                n|ztlt p-                             L€\J\NI[ B.      \1.+.3-i0t s
                                                                                  JIJDGE OF THE SUPERIOR COURT'
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      Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 115 of 123




                               V
The “application” for the judgment was “prepared” by an
attorney named “Paul Tokeshi.” There are five separate
signature types for Mr. Tokeshi. The last set appear to
match another handwriting found in the application of a
501(c)(3)       formed        in        Arizona      called
D.A.M.E.S by “Michelle Thorne.” We believe there is no
“Michelle Thorne.” Instead, we believe that the charitable
organization was created by Brittany to launder money. And
then there are the Tokeshi and Thorne signatures. Two
examples are attached. They look the same. One of the
Los Angeles County Superior Court judges sees them as
being the same. So are they?
Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 116 of 123
Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 117 of 123
Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 118 of 123




                              62
     Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 119 of 123




                           VI
Then there is the fraudulent check stolen from me. Was It
Brittany who wrote it?
                                                        Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 120 of 123




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     Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 121 of 123




                      VII
Previously you reviewed Judge Marvin Davis'
signature and determined that some of the "Marvin
Davis" Signatures differed from the others. Please
could you review the "Marvin Davis" signatures below
and let us know if they match any of the signatures
previously reviewed.
 John H. ThalerCase 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 122 of 123
 HARRJSm-tALER LAW
 2510 E. Sunset Road, Suite 6-124
 Las Vegas, NV 89120




                                            UNITED ST ATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
John Harris Thaler
                                                                        CASE NUMBER




                                  V.
                                                     PLAINTIFF(S)     L--------------------
Brittany Rae Thaler et al.                                                   NOTICE AND ACKNOWLEDGMENT OF
                                                                            RECEIPT OF SUMMONS AND COMPLAINT
                                                                                         (For use with State Service only)
                                                  DEFENDANT(S).

To: Marvin L. Davis, an individual

   The summons and complaint served herewith are being served pursuant to Rule 4(e)(I) of the Federal Rules of Civil
Procedure and Section 415.30 of the California Code of Civil Procedure.

    You may complete the acknowledgment part of this fonn and return the completed form to the sender within twenty
(20) days.

     If you are served on behalf of a corporation, unincorporated association including a partnership, or other entity, you
must indicate under your signature your relationship to that entity and your authorization to receive process for that
entity. If you are served on behalf of another person and you are authorized to receive process, you must indicate your
authority under your signature.

     IF YOU DO NOT complete and return the fonn to the sender within twenty (20) days, you ( or the party on whose
behalf you are being served), may be required to pay any expenses incurred in serving a summons and complaint in any
other manner permitted by law.

    IF YOU DO complete and return this form, you (or the party on whose behalf you are being served), must answer the
complaint within the time provided in Rule 12 of the Federal Rules of Civil Procedure or judgment by default may be
taken against you for the relief demanded in the complaint.

    I declare, under penalty of perjury, that this Notice and Acknowledgment ofRece                        Summons and Complaint was
mailed on May 4 202)




                       ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT
                                                        (To be completed by recipient)
I declare under penalty of perjury, that I received a copy of the summons and complaint in the above-captioned matter at

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CV-21 (02/04)           NOTICE AND ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT
             Case 2:21-cv-01419-DLR Document 77 Filed 09/28/21 Page 123 of 123
 John H. Thaler
 HARRISfTliALER LAW
 2S JO E. Sunset Road. Suite 6-124
 Las Vegas, NV 89120




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                                          UNITED STATES DISTRICT COURT
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     me£(),, A2 B6 l. \ D                                                                                   PHOENIX AZ 852

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    IF YOU DO NOT complete and return the form to the sender within twenty (20) days, you (or the party on whose
behalf you are being served), may be required to pay any expenses incurred in serving a summons and complaint in any
other manner permitted by law.

    IF YOU DO complete and return this form, you (or the party on whose behalf you are being served), must answer the
complaint within the time provided in Rule 12 of the Federal Rules of Civil Procedure or judgment by default may be
taken against you for the relief demanded in the complaint.

     I declare, under penalty of perjury, that this Notice and Acknowledgment ofRece
mailed on         May 4 202)



                         ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT
                                                 (J'o be completed by recipient)
I declare under penalty of perjury, that I received a copy of the summons and complaint in the above•captioned matter at

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